Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 1 of 100


       STATE       OF TEXAS          VS.    RUBEN       GUTIERREZ                                       100




  1            A.         Yes        sir.

  2            Q.         Once       we do our closing                  we go ahead          and close

  3    at    the    end        then    the    12       jurors will go to the jury                  room

  4    and    thats when              the    12    jurors will              talk    about    it   will go

  5    through       all the six elements                        and    thats when           the jurors

  6    will    say        Well         do you find him guilty or not                          guilty
  7                                  Okay.        If    somebody        believes         something      if

  8    somebody       believes             something         else       of    course        you keep    on

  9    going       back    and       forth.

10             A.         Yes        sir.

11             Q.         Once       you all have            a   verdict           then you all come

12     back    and    you tell us             --       if   you tell us            hes   not guilty

13     then    it    stops right there.

14             A.         Uh-huh.

15             Q.         Okay.        If you          tell us that           its guilty          then we

16     go on to the             sentencing             stage.       And the sentencing             stage

17     is different             for capital             murder than           the other       crimes

18     okay         For capital murder what                       you need          to do    is you    need

19     to prove       --       or you need             to go through           all those       three

20     questions.

21             A.         Yes        sir.

22             Q.         You    need to answer yes or no to all those                                three

23     questions.

24             A.         Uh-huh.

25             Q.         Or    --    an example             like      if    they do not prove




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Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 2 of 100


       STATE       OF TEXAS    VS.    RUBEN       GUTIERREZ                                        101




  1    element number          six therefore we go back that hes not

  2    guilty of capital murder would you agree                                with    me
  3            A.      Yes     sir.

  4            Q.      Okay.        But    if you       find him guilty of             murder

  5    then    the punishment             range    is    from five       to 99 or life

  6    which means         that     you can       give him five          or you can         give

  7    him 99 or life okay                  or anything          in between.           Would     you

  8    agree       with   me
  9            A.      Yes     sir.

10             Q.      Okay.        Would you automatically want                      to give




--14
11     somebody       death    just because             its murder
12             A.      Yes     I    would.

13             Q.      Even    though       the law states

               A.      Well        my opinion       I    would.        But   if     its   the    law

15     I    have    to go with the law.

16             Q.      Okay.        And    --    okay.     If    you do not find him

17     guilty of capital murder and you do not find him guilty

18     of    murder but you find him guilty                       of    robbery       which      are

19     the lesser         included        offenses        okay     that      means     that     you

20     can    sentence      him to two to 20 or anything                       in between.

21                             Because          they proved robbery and                they did

22     not prove       murder so you found him guilty                          of   robbery

23     would you be willing to sentence                         him from two to 20 years

24     or anything in between for                   robbery
25             A.      From two       to 20 years for             robbery



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Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 3 of 100


       STATE    OF TEXAS       VS.          RUBEN    GUTIERREZ                                         102




  1            Q.     Yeah.            Anything in between.                The    least amount

  2    you    could    sentence             him to    is   two     the most       is    20   or

  3    anything       in between.

  4            A.      If    they found             him guilty for robbery

  5            Q.     Yeah.

  6            A.     Yeah         I    would.

  7            Q.     Okay.            Lets        go back   to capital          murder.        We

  8    spoke    to you       or Mr.          Blaylock      spoke       to you    that    those        are

  9    the three       questions             that    need to be answered.

10             A.      Yes     sir.

11             Q.      Okay.           The    very first question                Is     there     a

12     probability that                the defendant         would       commit    criminal acts

13     of violence          that       would constitute            a    continuing       threat        to

14     society          This       is asking          you to     look     into the future.

15             A.      Yeah.

16             Q.      Okay.           And you dont          know      what     the future

17     brings.

 18            A.     No      sir.

 19            Q.      But you stated                you would look into his

20     background.

21             A.      Uh-huh.

22             Q.      Okay.           If    a person       committed murder             like an

23     example      capital        murder           and    they did not have            any prior

24     criminal       record           would you automatically want                     to give

25     them    the death       penalty



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Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 4 of 100


       STATE      OF TEXAS         VS.    RUBEN     GUTIERREZ                                      103




  1            A.           Yeah    because        why would we give him the right

       to take         somebody       elses life




  --5
  2


  3            Q.           All right.           Just    because     they took      away

  4    somebody         elses life

               A.           Yes    sir.

                                 you would        want    to give    him the death




--10
  6            Q.           --


  7    penalty
  8            A.           Yes    sir.      But if       the law requires not to give

  9    him   --       you    know     for something            else well

               Q.           Well    in capital murder               its     either going         to be

11     life or death.               Its      one    or the other.

12             A.           Uh-huh.

13             Q.           So in Question          Number      1   theyre asking you              Is
14     there      a    probability that             this person        is going       to commit

15     other      criminal acts             of    violence
16             A.           Yes    probably.

17             Q.           Criminal acts          of violence         I    believe      you stated

18     is   like       assault

19             A.           Yes.

20             Q.           All right.           Would    you agree        with   me that    a

21     criminal act              of violence        is an      act maybe      against      another

22     person
23             A.           What   do you mean           act
24             Q.           Like   an example            if   you go and      I   push   you
25     thats an act of violence.



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Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 5 of 100


       STATE    OF TEXAS        VS.     RUBEN      GUTIERREZ                                                104




  1            A.     Yes        sir.

  2            Q.     Okay.        If    I    go and         if   I    have    a    D.W.I.          would

  3    that    be an act        of violence             to    you
  4            A.     D.W.I.       and       if   you    did      what         You were            just

  5    drinking       driving while               intoxicated

  6            Q.     Yeah.        Would that be an act of violence                                  to   you
  7            A.     That      would be          --    act of         violence          it    wouldnt

  8    be    an act   of    violence.             It    would         be    something dumb.               You

  9    shouldnt       be    driving while               intoxicated.

10             Q.     Okay.        How       about      burglary of a habitation

11     would that be a criminal act of violence                                     to   you
12             A.     Criminal          violence

13             Q.     Criminal act of violence.




--16
14             A.     It    depends          if   somebodys                in there.          If    theres

15     not    somebody      in there

               Q.     Theres nobody in there.

17             A.     Its       just burglary.

18             Q.     So you would agree                     with     me that       a    criminal act

19     of violence         is   something          thats          done      mainly against

20     another      person
21             A.     Yeah.

22             Q.     Are you willing to go ahead                             and    follow         that

23             A.     The       rules yeah.
24             Q.     Are you willing to take                          that    into

25     consideration




                                   PAM       L.   ESQUIVEL             CSR RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 6 of 100


       STATE      OF TEXAS       VS.      RUBEN       GUTIERREZ                                                    105




  1            A.        The    things      right here               in the          chart         Yes        sir.

  2            Q.        Okay.       If    --    well        let me go               into Special             Issue

  3    Number       2   which is Question Number                          2.        This mainly talks

  4    about      the    law of      parties.             What       it    says          is Do         you find

  5    from the evidence               --       and       its missing up there beyond
  6    a    reasonable         doubt      that       the defendant                  actually caused                the

  7    death      of    the    individual             or if he did not actually cause

  8    the death          that      he intended            that       the person be                killed or

  9    number       three that he anticipated that                                   a   human     life would

10     be   taken
11                               Lets       go       into a hypothetical                         the Circle          K

12     example.          Me    and my spouse go                 in there.                At that        point       we

13     both    talk      about      taking       some money.                   We    both    take       a    gun

14     and we both            say    Well            if   we go       in there             and    if    somebody

15     gives      us a hard         time        if    the clerk            doesnt want                 to give

16     us the       money well just go ahead and kill that person.
17     Do you       follow     me    so    far
18             A.        Yes     sir.

19             Q.        If    we both went               in there         and       I   killed        the

20     clerk        we took      the money and we                    left.           There       was    nobody

21     else    in there         except      us       two     my spouse and                  I     and       the

22     clerk        okay        So we      left.          Did    I    actually cause                   the death

23     of   the     person of the clerk
24             A.        You        You    shot       him yes.

25             Q.        Okay.       Did my spouse               actually cause                   the death




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Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 7 of 100


       STATE       OF TEXAS         VS.    RUBEN       GUTIERREZ                                                 106




  1    of    the    person
  2            A.        Actually          --    what       do they call         it         What       was       it
  3            Q.        Did    she actually                kill the       person
 4             A.        Not    actually              but    she knew      you were          going          to

  5    end up       doing      something.

  6            Q.        So that          takes       us    into question          number            two.        Did

  7    I    intend      that    somebody             might be      killed

  8            A.        Yes        sir.

  9            Q.        Did    I    intend          to kill somebody

10             A.        Uh-huh.

11             Q.        Did my spouse intend                     that     somebody         might be

12     killed

13             A.        Yes        sir.

14             Q.        Question          number          three     did    I   anticipate             that       a

15     human       life would be               taken

16             A.        Yes        sir.

17             Q.        Okay.        Did my spouse anticipate                        that       a    human

18     life would be            taken

19             A.        Yes        sir.

20             Q.        Okay.        Let me change               the facts.           If    we both             go

21     in there          into the Circle                   K again       just to take                some

22     cigarettes.             Then       as    we go in there             --   before       we go in

23     there        I   have    a    gun.        My wife          doesnt know          it.           Because

24     as    to my      wife        were        just going         to take       some       cigarettes

25     and    thats       it okay                I    know    I   have     a gun      and    I       know    Im



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Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 8 of 100


       STATE    OF TEXAS            VS.    RUBEN       GUTIERREZ                                      107




  1    going    to go      in there          with       a    gun.

  2                                 At that       point       we go    in     we take      the

  3    cigarettes.          Nobody sees us.                    As we    leave       my wife       leaves

  4    first and      I    leave          right behind her.                But as    I    approach

  5    the    door    I    shoot          the clerk.           Theres nobody else                in

  6    there.       At that          point       did    I    actually      kill the       person
  7            A.     Yes           sir.

  8            Q.     Did my wife                actually kill the person

  9            A.     No        sir.




--12
10             Q.     Did       I    intend       that       a person      would be killed

11             A.     Your          wife    or

               Q.     Myself.

13             A.     Yourself               Yes.

14             Q.     Okay.           Did my wife             intend    that    a person         would

15     be    killed

16             A.     Yes           sir.     Oh        no.     Wait     wait.       No.

17             Q.     Okay.           Did    I    anticipate          that    somebody      might be

18     killed        Did    I       anticipate          that    a human       life might be

19     taken

20             A.     Yes           sir.

21             Q.     Did my wife                anticipate         that     a human      life might

22     be    taken

23             A.     No sir               because          she was    already out.

24             Q.     And would you agree                      with    me that      its     also

25     because of the reason that we never                              spoke    about      killing




                                      PAM    L.    ESQUIVEL           CSR RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 9 of 100


       STATE      OF TEXAS     VS.      RUBEN       GUTIERREZ                                                  108




  1    somebody       and   she did not know                  that       I    had       a    weapon
  2            A.      Yes     sir.

  3            Q.      Okay.          She might be            convicted             of       robbery      would

  4    you agree       with    me
  5            A.      Yes     sir.

  6            Q.      But not         of    murder or capital murder because                                  she

  7    did not know anything                  about    it.

  8            A.      If   she       didnt know anything about                               it no
  9    but   --     yeah.

10             Q.      So you would be willing to convict                                        her or find

11     her guilty of          robbery but not murder or capital murder

12             A.      Yeah.




--16
13             Q.      In   Question Number               1    and       Question Number                 2     in

14     order      for you or the jury to answer                              yes            to these     two

15     questions        all 12 jurors have                    to agree

               A.      Yes     sir.

17             Q.      --   which means            that       all 12          jurors once              they

18     say     Well whats               your answer            to Question Number                       1
19     All 12 of you          have      to say       yes.            And then you go into

20     Question       Number      2    if    as to Number            1       all    12      of   you    said

21     yes.
22                             If      as to Question Number                        1    ten of        you said

23     no      and    two   of you          said    yes         then         thats           all you need.

24     Do you understand               that

25             A.      Yes     sir.




                                      PAM    L.    ESQUIVEL          CSR RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 10 of 100


        STATE     OF TEXAS            VS.       RUBEN       GUTIERREZ                                                 109




  1             Q.         Okay.           In    order          for you all to bring us                        a    no
  2    answer          only      ten of you have                         to    say    no         okay         And so

  3    if   you      all say          no         as    to Question Number                        1   then      it

  4    stops right there.

  5             A.         Okay.

  6             Q.         Do you understand                         that

  7             A.         Yes        sir.

  8             Q.         If    you all say                yes                then we go         into Question

  9    Number        2     whether          I    anticipated                   or that      I    killed or

 10    whether         I   intended             to kill.                 Again        all   12    of you have          to

 11    say    yes.              If    you all          --       if       ten of you         say      no        then    it

 12    stops right there.

 13             A.         Yes.

 14             Q.         Do you understand                         that          only ten of you            have    to

 15    agree      to       it
 16             A.         Yeah.           Uh-huh.

 17             Q.         So    if you          all say             yes             then you go         to

 18    Question Number                 3    which          is    the mitigation issue.                         If    ten

 19    of   you      say    no             then       it    stops right there.

 20                                   So in Question                      Number       3   were      trying to

 21    find     out        Is        this person more                         --    is there      sufficient

 22    circumstances                 or maybe          even          a    circumstance            that    this

 23    person deserves                 life instead                      of   death             Do you

 24    understand that

 25             A.         Yes        sir.




                                           PAM    L.       ESQUIVEL                 CSR RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 11 of 100


        STATE    OF TEXAS          VS.    RUBEN       GUTIERREZ                                                 110




   1            Q.      Is there          something in the evidence                            is    there

  2     something       in the circumstances                     of       the offense           is       there

  3     something       in the defendants                    character            and background                    or

  4     is there       something          in the personal                  moral culpability                   of

  5     the defendant             that    that person            deserves          life or          death

  6             A.      Which one               The    one    that         committed       the murder

  7     or
  --8           Q.      Okay.           Let me go back.                   Me    and my wife          go    in to

  9    a   Circle      K.     I    have    a    gun    and    she knows            that    I    have       a

 10    gun.      Okay.        Youve        already          answered            yes     to Question

 11    Number        1 yes          to Question             Number         2.     And   Im      the one

 12    that     killed the clerk.

 13             A.      Uh-huh.

 14             Q.      In    Question Number                3     at      that    point       would you

 15    be willing to take                 into consideration                     the evidence

 16    whatever is presented here                           the circumstances                   how did




 --20
 17    the offense           happen        what       was    the result of              it my
 18    character            my background              my education                personal moral

       culpability of the defendant                           am



 --21
 19                                                                   I


                A.      Not       all

                Q.      --    remorseful            for what          I    did     what    was my

 22    thinking             Would you          --   would     you         consider      that        --    take

 23    that     into    consideration               to determine                yes he deserves
 24    life or       no      he    deserves         death

 25             A.      No.        If    you were       the one



                                        --PAM  L.   ESQUIVEL              CSR RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 12 of 100


       STATE    OF TEXAS         VS.       RUBEN       GUTIERREZ                                           111




  1            Q.     If    I    were          the one       that   killed him.

  2            A.     If    you were                the one    that    --    no.     I   would

  3    probably have            to hear him because the law says to hear

  4    them    all right                  So    I    would have       to make       --   you    know

  5    hear them all.

  6            Q.     But even             though          you would hear them            all would

  7    you already have               a    decision          before    hearing them            all
  8            A.     No        sir.

  9            Q.     Would you already                      say    He      deserves      life             Im
 10    sorry.       He     deserves             death
 11            A.     No.        Until like you                say     I    have    to hear them

 12    all the way         youre supposed                    hear them.

 13            Q.     Okay.           So as to my             wife     if    she was      not    the

 14    killer       she was       not          the shooter          she knew        about      that    I


 15    had a    gun      but     she was             not the    shooter        would you be

 16    willing to take            all this into consideration

 17            A.     Your      mom        --       your    wife      All    that yes.
 18            Q.     The       circumstances                 the evidence

 19            A.     Uh-huh.             Yes.

 20            Q.     She       did not kill the                person
 21            A.     But       she still knew that                   you had       a gun.

 22            Q.     Would you take all this into consideration

 23            A.     Some       of       them yeah.
 24            Q.     And you would                   not automatically say               no     she

 25    also deserves            death          because       she knew.I       had    a   gun



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Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 13 of 100


       STATE    OF TEXAS          VS.    RUBEN         GUTIERREZ                                           112




  --2
  1




  3


  4
       Number

       all 12
               A.


               Q.

                    1
                          No.     She has to

                          This question

                         and Number

                    jurors have          to
                                             2.


                                                  say
                                                       is the

                                                       In order

                                                         no
                                                                  opposite

                                                                      for you

                                                                  in order
                                                                                     of Question

                                                                                      all to say

                                                                                     for you    all to
                                                                                                       no
  5    come back          with    a   no          answer.         Okay.         So what      you     say is

  6    no     this person does                not deserve             life he deserves               death.

  7            A.         The    one that          killed       the    guy
  8            Q.         Yeah.       Whether its me if                    Im        in trial or       its

  9    my wife          and   shes      in    trial after taking                      into

 10    consideration             all that.              If   youre going              to answer      yes
 11    this person deserves                   life this person does not deserve
 12    death        after considering                  everything            then      only ten of you

 13    have    to come back             with       a    yes       or ten of you have                 to say

 14     yes     in order          for you all to bring us                        a    yes      answer.

 15            A.         Okay.

 16            Q.         Do you understand                  that

 17            A.         Yes     sir.

 18            Q.         Are you willing to                  follow       that

 19            A.         Yes     sir.

 20            Q.         Mr.    Blaylock          spoke     to you        about       the accused         has

 21    the right to remain                   silent.

 22            A.         Yes     sir.

 23            Q.         What    are your feelings                   as   to    that

 24            A.         My feelings             about      it       That      he has       to be    --   he

 25    doesnt have to go to the stand or anything.



                                      PAM     L.       ESQUIVEL        CSR       RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 14 of 100


        STATE    OF TEXAS             VS.       RUBEN    GUTIERREZ                                               113




   1            Q.         Yeah.           He    doesnt have to talk to the police

  2     officers.           He    doesnt have to testify here in court.

   3            A.         If    thats the law                  if    he   doesnt have               to.

  4             Q.        Would you automatically take it against                                      him

  5     just because             he did not             testify
  6             A.        No      sir.

  7             Q.        Would you take                 it    against       him because             he did

  8    not    talk        to the police                officers

  9             A.        No      sir.

 10             Q.        He also           spoke       to you about             the wife       not

 11     testifying.

 12             A.        Uh-huh.

 13             Q.         In    my hypothetical                 only my wife             and    I    went       in

 14     there.        The       clerk       was    the only          other       person    in there.

 15    There     was      nobody else.

 16             A.        Yes         sir.

 17             Q.        Okay.            If    my wife       did not testify              shes           the

 18    only     other       person that knew                   what    went       on.     Would       you take

 19     it   against        me because             my wife       did not          testify
 20             A.        Would        I    --    no     sir.        Thats        the law.

 21             Q.        Okay.            Lets        go back       to the hypothetical.                    Two

 22    people        go    in and          they kill a child                 a    five-year-old

 23    child.         Then       at    that       point       they    leave.          Would you take it

 24    against        the codefendant                   just because             --   or would you take

 25     it   against        the accused                just because          the codefendant               did




                                           PAM    L.    ESQUIVEL           CSR RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 15 of 100


       STATE       OF TEXAS       VS.    RUBEN       GUTIERREZ                                               114




  1    not    testify           Would you automatically find him guilty

  2            A.         Well     I    really       cant     because          you    dont        have

  3    evidence           you know.           You    cant     find him guilty because

  4    you    know        the codefendant             didnt        say anything            or

  5    anything.           So how can          I    find    him guilty

  6            Q.         Okay.        Would you take             it    --    if   there     is a

  7    statement          from the accused                 would you take             into

  8    consideration the time its taken                                  An example             if it        was

  9    taken       at    300    in the morning               would       you take       that       into

 10    consideration

 11            A.         Yes     sir.

 12            Q.         Okay.        Would you take             into       consideration             the

 13    number of police                officers       that    are around             him at the time

 14    that    the statement             is    taken         Like      an example            there       was

 15    four police          officers          and he       took    the statement             --    they

 16    took    the statement             at    300     in the morning.                 Would you

 17    agree       with me that          thats not           a good          time to    take       a

 18    statement

 19            A.         No.     Any time would be the same you know                                    to

 20    take    a    statement.

 21            Q.         Would you take             into    consideration             the fact          that

 22    he got       arrested at ten in the morning and the statement

 23    was    not       taken   until        300     in the       morning
 24            A.         He got       what
 25            Q.         Arrested at          1000 in the morning                     by 1000 he




                                       PAM    L.    ESQUIVEL           CSR RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 16 of 100


        STATE      OF TEXAS        VS.    RUBEN      GUTIERREZ                                    115




   1   was    at     the police          department.

  2             A.      At    1000        --    by 300 he made the statement

  3             Q.      300        in the morning.

  4             A.      Yeah.

  5             Q.      Would you take that                 into consideration

  6             A.      Yes        sir.

  7             Q.      I    believe          Mr.   Blaylock spoke        to you    about

  8    the    --     a plea    bargain.             You   know    what   a plea bargain is

  9    right
 10             A.      A deal.

 11             Q.      A deal.           And a deal can be that me and my wife

 12    or me and        somebody          else      go into      a house.    The    only person

 13    thats         there    is    a    five-year-old           boy.    As we go    in     we try

 14    to take        something and             then we     kill the little boy.

 15    Nobody else saw us.                     Im    in trial first.

 16                                Would       you take     into    consideration the fact

 17    that     he also       should          be considered for the death             penalty

 18     is that       correct

 19             A.      Yes        sir.

 20             Q.      Okay.           Would you take           into consideration         the

 21    fact     that    he was          offered      20   or 30 years for testifying

 22             A.      Would       I    consider         that

 23             Q.      Yeah.

 24             A.      If    thats           the   law    yes.

 25             Q.      Okay.           Would you take           into consideration         the




                                        PAM    L.   ESQUIVEL       CSR RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 17 of 100


       STATE    OF TEXAS          VS.       RUBEN       GUTIERREZ                                            116




       fact    that       he might get probation even                         though    he was          also




  --5
  1


  2    inside       the    house

  3            A.         Probation

  4            Q.         Somebody          was       killed

               A.         Yeah but           I    dont        think    they would       probably

  6    give    him probation.

  7            Q.         But    if    he was          given    probation        would       you       take

  8    that    into consideration

  9            A.         Yes.     He was             testifying       against       somebody          else

 10            Q.         Yeah.

 11            A.         If    thats        the       law     if    they have       to do       that
 12    yes.

 13            Q.         In    that    situation              me and    somebody       else went

 14    into the house.                 We    both went          in     somebody      was     killed.

 15    Nobody knows             whether it was me or somebody                         else       that

 16    killed him              the boy.

 17                               Do you agree                with    me that    if    my

 18    codefendant              the other             person    that    went    in with          me
 19    testified          against       me because             he got    less    time do you
 20    agree    with       me that          he has       a    motive    to    testify            Hes
 21    going    to get          something in             return

 22            A.      What       do you          mean
 23            Q.      Hes        going          to get a better             deal than       I   am.

 24            A.         For testifying                against       somebody       else         If    he




                                       --PAM
 25    didnt        know       who committed             --    both    of you    didnt           commit




                                                 L.    ESQUIVEL        CSR     RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 18 of 100


       STATE    OF TEXAS     VS.     RUBEN       GUTIERREZ                                             117




  1            Q.    Nobody knew.               Only       I    knew    and my codefendant




  --4
  2    knew    who was     the one that              killed       the little boy.

  3            A.    And

               Q.    And he testified against                          me.




  --9
  5            A.    Would     I    what
  6            Q.    Would you agree                 with       me that       he has a motive           to

  7    testify       Hes     getting           something          in return         for

  8    testifying.         Hes      getting          a    lesser

               A.    Yeah      lesser time.                    Would    I    consider      that   like



 --11
 10    say consider

               Q.    Do you        agree       with me that he has a motive                       to

 12    testify       He has a reason                 to    testify
 13            A.    Because        hes        getting a lesser charge                     yeah.

 14            Q.   Would you agree                  with me that             he also might have

 15    a   reason   to   lie
 16            A.    Sure.

 17            Q.   Would you take               that          into consideration

 18            A.   Yes      sir.

 19            Q.    I   believe         you    --       well would you agree                with      me

 20    that    police    officers          doctors              scientists          that

 21    everybodys        human

 22            A.   Yes      sir.

 23            Q.   Would you agree                  with       me that       everybody     makes

24     mistakes

25             A.   Yes      sir.




                                   PAM    L.    ESQUIVEL           CSR        RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 19 of 100



        STATE    OF TEXAS      VS.      RUBEN GUTIERREZ                                              118




  1             Q.     Okay.       At that          point    if    they make          the mistake

  2    would you agree          with me that               they might lie in order                to

  3     cover    it
  4             A.     If    the mistake             yeah        you    know        they probably

  5    would lie.           Well     they are lying.                   Some    of    them   do lie

  6    anyway.

  7             Q.     So you would agree                  with    me that          some police

  8    officers       come    in here         and    take    --    or swear under            oath and

  9    they     still might lie under                 oath

 10             A.     Yes     sir.

 11             Q.     Would    you         take    that    into       consideration

 12             A.     Yes     sir.

 13             Q.     Have    you      --    I    believe       you have       a    relative   in

 14     law enforcement            is       that    correct




 --19
 15             A.     Yes     sir.

 16             Q.     You    have      a    brother

 17             A.     Brother.

 18             Q.     And    hes       working you said at the

                A.     Prison guard.

 20             Q.     And    hes       the one       that       applied at the

 21    Brownsville          Police      Department

 22             A.     Yes     sir.

 23             Q.     Has    he already been               hired

 24             A.     I    dont know              sir.

 25             Q.     Okay.       Would that             keep    you    from being fair and




                                   PAM       L.    ESQUIVEL        CSR        RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 20 of 100


        STATE    OF TEXAS           VS.    RUBEN    GUTIERREZ                               119




   --6
   1    impartial             An    example        would you believe         the police

   2    officers     a    lot       more    just because       your brother is in law

   3    enforcement

   4            A.       No        sir.

   5            Q.       Would you just listen to the testimony

                A.       Yes        sir.

   7            Q.       --    and not automatically             decide      on the

   8    testimony

   9                                Have    you ever been       a prior      victim   Has



 --11
 10     your house

                A.       A what

 12             Q.       A prior victim.

 13             A.       They almost did              but no.

 14             Q.       Did you catch             them    or what   happened

 15             A.       We    scared them          off.

 16             Q.       Okay.        Would you take          that   against    the accused

 17     just because           you were       almost a       victim

 18             A.       No.

 19             Q.       You       would just listen to the testimony

 20             A.       Yes        sir.

 21             Q.       Have       you heard       about    this case    in the

 22    newspaper          TV        anywhere

 23             A.       No        sir.

 24             Q.       Have       you already       formed an      opinion

 25             A.       No        sir.




                                      PAM    L.    ESQUIVEL     CSR    RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 21 of 100


        STATE    OF TEXAS          VS.          RUBEN       GUTIERREZ                                                  120




  1             Q.         Have    you          served       on a    jury    before

  2             A.         No     sir.

  3             Q.         Let me go back                   to the question          on Number                1    and

  4    to Number           3.     If       a    person committed capital murder                                   in

  5    order     for the Court to consider                               the death           you need             to

  6    answer        yes         to Number                1 yes          to Number       2    and       no         to

  7    Number        3.

  8                                The          person       --    an example        a       hypothetical

  9    we went           into    the house.                 We    killed the      little boy.                     Im
 10    in trial.            The    jury comes                back    and you all find me

 11    guilty.            At that          point          what    is your result             --    what       is

 12    your response              as       to whether they deserve                   the death                or

 13    life

 14             A.         Death       because             they found       you   guilty.

 15             Q.         Okay.           Would you still go through                         all the three

 16    questions

 17             A.         Yeah        I   would still go over them because                                   thats

 18    the law.            You    have          to go       through      everything.

 19             Q.         Okay.           If    I    dont        have   any other           priors           Ive
 20    never been arrested                       before okay               Question          Number       1       is

 21    asking        you    look into                the future          whether     Im           going       to

 22    commit        a    criminal             act    again.

 23             A.         Yeah but you never                       know    because           you       know           you

 24    would say you never                       commit a          crime     but all of             a   sudden

                                  and you probably would.do



                                           --PAM
 25    you   just snap                                                             it        again




                                                     L.    ESQUIVEL        CSR    RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 22 of 100


        STATE    OF TEXAS          VS.    RUBEN          GUTIERREZ                                                     121




  1             Q.      Okay.

  2             A.      --    because          youll probably snap again.
  3             Q.      If    I    was    found          guilty as to capital murder

  4    would you automatically                       --       even          though    I    didnt have any

  5    prior criminal              record           nothing shows that                      Im       going        to

  6    commit        the crime again                 I       have       a    college       degree        Ive
  7    always been           working           I    dont        have          anything          bad against

  8    me.

  9             A.      Would       I    consider             the death             penalty
 10             Q.      Would you automatically answer                                     yes         and not

 11    consider        Question Number                   1   because           I    committed a capital

 12    murder

 13             A.      And they found                   you guilty of                it would           I


 14    consider        Question Number                   1   whether there                 is    a   probability

 15    that     he would          commit criminal                   acts       of    violence          again




 --20
 16             Q.      Yes        sir.

 17             A.      I    would.

 18             Q.      You       would just answer                         yes
 19             A.      I   would say              yes         because              you know

                                  MR.     BLAYLOCK                  I       object    to the question

 21    Judge.         The    standard          is    if       his reason             and common sense

 22    told     him that          he would not probably commit a crime in the

 23    future        of violence              would he go against                         his reason             and

 24    common        sense and          answer       it       falsely          just to ensure                a

 25    certain        result            Thats        the standard                    and    I    ask   that        it




                                        PAM    L.    ESQUIVEL                 CSR RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 23 of 100


        STATE    OF TEXAS      VS.    RUBEN          GUTIERREZ                                                122




  1    be asked       like    that.

  2                            THE    COURT                  Its        been    asked      already.      Go

  3    ahead.

  4             Q.     BY     MR.    GALARZA                     What    would your response             be

  5    as to Question          Number          1    if       I    committed         capital murder and

  6    like     they told      you        I    have          a    four-year         college       degree       I


  7    was    working as a teacher                       I       dont     have      any criminal



  --9
 --13
  8    records

                A.     But they already                      found       you guilty.

 10             Q.     --    but they already                      found       me   guilty
 11             A.     But you were                guilty.

 12             Q.     Okay.        But would                you take          into    consideration

                A.     The    background

 14             Q.     Everything              that          I    dont       have     anything        in my

 15    record

 16             A.     Well     I    would          look at             it     yes.

 17             Q.     But you       already             have       a    response       just because

 18    they have       found    me guilty of                      capital       murder

 19             A.     Well     after          --    you         know        like you          say the law
 20    you have       to go    through             everything                right         I   have   to go

 21    through       everything.              What       if        you    know        maybe just maybe
 22    there     might be a reasonable                           doubt       right
 23             Q.     Okay.        What       Im        trying to get                at       just because

 24    I   commit a capital murder                           would       you    automatically say he

 25    deserves      the     death



                                    PAM       L.    ESQUIVEL              CSR RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 24 of 100


       STATE    OF TEXAS            VS.       RUBEN          GUTIERREZ                                            123




  1            A.        Yes        sir        I       would       say that.

  2            Q.        So you would                   look at          every       single       question        but

       you would automatically
  3                                                      --       even    though          youre answering
  4    every    single         question                 you would still say he deserves

  5    the death         penalty
  6            A.        But    I    would             look at       everything                 yes   sir.

  7            Q.        If    theres something in there                                   --    like an

  8    example       if       nine       jurors          say        He     does       not       deserve    the

  9    death        so    --    youre trying to answer Question Number                                            1
 10    okay
 11            A.        Nine       jurors
 12            Q.        Nine       jurors             say        No      he does          not deserve

 13    death.        So their answer                         is    no          okay         Remember       that




 --16
 14    you need ten.

 15            A.        Ten    to say

               Q.        Would you automatically                               say    yes         just because

 17    you already know                  as    to       --    in your mind that                   he deserves

 18     yes         Even       though          Im        educated              I    have    no prior

 19    criminal      record              Ive           never       committed          a    crime before




 --22
 20    this is the first time                           Ive        ever    committed one.

 21            A.        Would       I    say

               Q.        Would       --       the question                is       would anybody be able

 23    to change         your       mind
 24            A.        Well        like          I    say they explain                    it    or something

 25    they go right to everything                                  yeah.




                                         PAM       L.    ESQUIVEL              CSR        RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 25 of 100


       STATE        OF TEXAS           VS.       RUBEN       GUTIERREZ                                            124




  1               Q.        Well        Im        going       through          everything.




  --4
  2


  3




  5
                  A.


                  Q.

                  A.

       Ill probably
                            Yeah.

                            Educated

                            Yeah        if

                                   change
                                                 something

                                                   my mind if
                                                                    --    yeah
                                                                          I    find
                                                                                      well you know

                                                                                       something

  6    different            or something                    yeah.

  7               Q.        Im     telling          you what             the evidence          is going          to

  8    show.           I   have    a    four-year             degree.           Ive     never    committed a

  9    crime before                not even             a    class       C.     Ive     never    done

 10    anything            else    before.              Ive been              teaching       all this time.




 --13
 11               A.        What       was       your reason             for doing       it
 12               Q.        Well        I    went

                  A.        You    snapped
 14               Q.        --    in to commit                burglary.

 15               A.        I    have       to    say       youre guilty.
 16               Q.        So you would automatically just find me guilty

 17    and    give me the death                     penalty




 --23
 18               A.        Because          you murdered somebody                       yes.




 --22
 19               Q.        Would you be able to set that aside and                                         if    the

 20    jurors gave               you some information                          automatically change

 21    your mind or you would automatically

                  A.        Like       say there             was    somebody          else    that    didnt

       if    he     didnt         deserve          --       you    know        if   somebody     --    unless

 24    somebody            came    up and          said Do you know what                             They    found

 25    the     --      you know             it    wasnt           him.        They made a mistake.                    It




                                            PAM    L.       ESQUIVEL           CSR RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 26 of 100


       STATE    OF TEXAS             VS.    RUBEN      GUTIERREZ                                       125




  1    was    somebody             else that         killed    him         then    eventually

  2    youre going to                 --    yes.       No.

  3            Q.            Okay.        But    theres no way             --    Ive   already       been

  4    found    guilty.

  5            A.            Yeah.

  6            Q.            What    youre looking             at    now is these        three

  7    questions.

  8            A.            The    three       questions.          Actually on Number           3


  9    because          youre asking              for the background and                everything.

 10            Q.            Yeah.

 11            A.            Not    the first two.             Youre just going for

 12    the
 --13          Q.            But you also have               to take       into    consideration

 14    the prior criminal                   record       number          one.

 15            A.            Yeah.        On Number      3     right
 16            Q.            Okay.        Let me go back.                How do you know     if

 17    Number       3    --    in Number          1 Im        sorry        it    says Is there          a

 18    probability that                   the defendant         would commit criminal acts

 19    of    violence                Theyre telling you to look into the
 20    future           is    that    correct

 21            A.            Yeah.

 22            Q.            How    do you know         if    this person is going           to

 23    commit       other          acts    of   violence

 24            A.            For what       he did.

 25            Q.            Okay.        Lets       go back.        I    have    not done




                                          PAM   L.    ESQUIVEL           CSR RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 27 of 100


        STATE       OF TEXAS         VS.       RUBEN       GUTIERREZ                                        126




   1    anything.

   2               A.        No no            but he did.              He murdered someone.

   3               Q.        At that          time

  4                A.        At that          time yes         sir.

   5               Q.        Just because             of what          he    did    you would

   6    automatically find him guilty and give him the death

   7   penalty
   8               A.        Yes     sir because              actually            whatever he did in

   9    the past         didnt           --    doesnt really matter for what                         he

 10     did    --       oh    sorry       --    for what       he did that            day because          you

 11     know       --   he might be a doctor                       a    judge       and    still kill

 12    him-you know                  and       have    a    good       record.       Hes     still going

 13     to    --    you never            know    if    hes     going          to snap      again    and    do

 14     it    again.

 15                Q.        Okay.        So is your feeling anybody                        that    commits

 16     capital         murder deserves                the death             penalty
 17                A.        Yes     sir but the law                    --   thats what        --    my

 18    personal          feeling              yes.



 --20
 19                Q.

                   A.
                             So

                             But    if    the    law asks          me to do something else                  to

 21    go by the             law     I    have       to do what             the law says.

 22                Q.        But will your end                result always be               the same

 23    way
 24                A.        If    something else             comes          up    yeah.

 25                Q.        Okay.        Somebody          committed capital              murder         you




                                          PAM    L.    ESQUIVEL              CSR RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 28 of 100


        STATE       OF TEXAS       VS.      RUBEN GUTIERREZ                                                     127




  1     look at       everything

  2             A.         At everything                Ill        look at          everything.           And if

  3    something           --    you    know       if       something             might you know            out

  4    of the blue              come    out   and           you    know           make    something doubt

  5    about        it.




  --9
  6             Q.         Okay.        Let me ask you               this.              What    is out    of the

  7    blue
  8             A.         Like    lets say

                Q.         Lets        go back.             I    commit       a    capital murder.              I



 10    went     into the Circle               K.        I       shot the clerk.

 11             A.         Yeah.        Say you         shot      him right                    But what    if

 12    he     you     know        tried to shoot                  you or whatever                 you    know

 13    say    --     you    know        something like               that.

 14             Q.         Okay.        But    let me give               you       --    and    thats

 15    self-defense.

 16             A.         Yeah        thats       self-defense                    but    youre still
 17    committing           a    murder because                 youre the one thats going
 18    to steal            right
 19             Q.         So in that         situation              you would             automatically

 20    give     him the death               penalty
 21             A.         For murder.

 22             Q.         No.     I    got convicted               of    capital murder.

 23             A.         Oh     capital      murder               Okay.           You    didnt give me

 24    like     a    choice       there.

 25             Q.         Okay.        I   got convicted                of       capital      murder




                                        PAM   L.    ESQUIVEL              CSR RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 29 of 100


       STATE    OF TEXAS        VS.    RUBEN          GUTIERREZ                                            128




  --6
  1    because      I   went    in to Circle             K.        I    shot somebody           because

  2    they did not want              to give me money.                      Or in your

  3    hypothetical            they put the alarm on.                         So    I    shot them

  4    because      they put         the alarm on.

  5            A.       Thats        capital murder.                    I   would still

               Q.       Its     still capital             murder.

  7            A.       Yes     sir.




 --11
  8            Q.       Okay.        Would          you still give            them      death    in

  9    either       way
 10            A.       In    either way because

                                MR.    BLAYLOCK               I    object          Judge.       Hes
 12    trying to bind him to                    a    certain       answer.

 13                             THE    COURT            Ill        sustain         the objection.

 14    Will    he consider.

 15            Q.       BY     MR.    GALARZA            Will          you consider         life in

 16    that    situation

 17            A.       Life
 18            Q.       In    either one.

 19            A.       For    what
 20            Q.       Well     if    I       went    in and          they did not want              to




 --23
 21

 22




 24
       give me the money.

       for the police

               A.


               Q.       I
                                           I


                                to come over

                        And you shot them

                             shot him.
                                                heard    that          they put         the alarm on




 25            A.       And would          I    consider          for just life in              prison



                                     PAM       L.    ESQUIVEL           CSR    RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 30 of 100


        STATE         OF TEXAS          VS.       RUBEN       GUTIERREZ                                                129




   1              Q.         The       other       hypothetical              I    went      in.     I    went

   2    ahead         and    shot       them           shot the clerk             because         they did not

   3    want      to give me the money.                          Would you consider                     life or

  4     death

   5              A.         Death       because             you already          have      a    choice.          You

   6    already did the choice.

   7              Q.         Okay.           The       only way you would consider                        life is

   8    if   it       was    in self-defense

   9              A.         Yeah.

 10               Q.         Okay.           If    I    went    into a house             --     or let me get

 11    back.           If    I    went       into       the    bank     I    went      in       by myself          and

 12    as    I    get out          --    nobody gave me a hard time.                               Everybodys

 13    on the          floor.           As    I    get out       I    kill the police               officer

 14    thats           there       and       then       I    leave.     Automatically you would

 15    consider             death       in this             situation

 16               A.         Yes        sir.

 17               Q.         The       only       time you would consider                        life is if

 18     its self-defense
 19               A.        No         not say in self-defense                         right            But       Im
 20    saying          that you know                        say because          if   they found          him

 21    not       --    like you          say           all    through       all       six probably give

 22    him life you know                           because       you    didnt          find the evidence.

 23                                     But       say something              you      know        brought         up

 24    like       the       --    you    know           like you       guys           right       youre
 25    defending                 you    come up with             something            else maybe              I




                                             PAM       L.    ESQUIVEL        CSR RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 31 of 100


        STATE    OF TEXAS       VS.    RUBEN     GUTIERREZ                                  130




  1    wouldnt because              some new evidence          came     in or whatever

  2    you    know.




  --6
  3             Q.      Okay.       Let me go back.           So what     youre saying
  4    is    like     in these      elements      right     here   if    they did not

  5    prove     element number            six

                A.     And if the law requires they have                    to prove     all



  --8
  7    six then




 --10
                Q.     And the person was            found     guilty or you        found

  9    him guilty of murder

                A.     Uh-huh.

 11             Q.      --   in that       situation       you would     consider    life

 12             A.     Life        yeah.

 13             Q.     But    if    they found      him guilty of capital murder

 14    you would always             consider     death

 15             A.     Yes      sir.

 16             Q.     So you would not consider                life in a capital

 17    murder case

 18             A.     No     sir.

 19                             MR.    GALARZA       May we approach          Your   Honor

 20                             MR.    BLAYLOCK        I   would ask just to clarify

 21    that     up.

 22                             THE    COURT       Go ahead     and     clarify   that

 23    point.

 24

 25




                                    PAM    L.   ESQUIVEL      CSR RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 32 of 100



        STATE      OF TEXAS          VS.       RUBEN    GUTIERREZ                                          131




   1                                       VOIR       DIRE    EXAMINATION




  --4
  2


  3




  5
       BY MR.

                  Q.

                  A.


                  Q.
                       BLAYLOCK

                             Now
                             Yes
                             --
                                     sir

                                     sir.

                                   you know youre going                    to have     to answer

  6     these      questions          honestly.

  7               A.         Yes     sir.

  8               Q.         We    talked       about    that.

  9               A.         Yes     sir.

 10               Q.        And if there was                 something about           the evidence

 11    or about             the man that          made you believe              that       there    was    not

 12    a    probability that                   he would commit an act                 of violence          in

 13    the future                 your reason and your common sense tells you
                             I                                              wont      commit       an act




 --19
 14    you    know                 think       that    he probably

 15    of    violence in the future                           would you still consider

 16     saying         yes         to that       question       to ensure           that    he gets the

 17    death       penalty because                of    your beliefs




 --22
 18               A.         Because       of    my beliefs          because        hes     going    to

       the way          I    see    it     I    dont know           if   the   --    the law is

 20    different             the way somebody                else    sees      it right            The    way

 21     I   see    it        if    he goes       in right            you    know      like    that

                  Q.        Well      let me stop you there.                        Let me    stop you

 23    there.           Lets        say after hearing all the evidence                              after

 24    hearing all the evidence                          your reason and your common

 25    sense       tells you there                is no       probability that              hell     commit




                                         PAM     L.    ESQUIVEL          CSR RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 33 of 100


        STATE    OF TEXAS            VS.    RUBEN       GUTIERREZ                                        132




   1    an act       of   violence          in the future.              I    mean      you believe

   2    that.

   3                                 Your      reason     and your common sense

  4     something          --   I    cant predict              what    all the evidence             is

   5    going    to be.             Neither       can    he.     We    cant give you           a

  6     hypothetical            to include             everything.

  7             A.        Yeah.

  8             Q.        Its        impossible.           But       lets say you hear

  9     something         in all the evidence                   where       your reason       and your

 10     common sense tells                  you        you know        he probably           wont
 11     commit an act               of violence          in the future             would you answer

 12     this one          yes       he   would just to ensure that he gets the




 --17
 13    death     penalty
                          Well                                               --   if
 14             A.                       no youve         got to go                    you   say



 --16
 15     something




 --19
                Q.        So you would                answer    it    honestly

                A.        Yes        sir.

 18             Q.        --    based       on the evidence

                A.        On the evidence.

 20             Q.        --    whatever          it    is
 21             A.        Whatever          it    is yes         sir.

 22             Q.        Okay.          And the same thing with                   Question        2
 23             A.        Yes        sir.        It    depends       on the evidence          and

 24    everything that would                      show    up.

 25             Q.        Okay.          Now      because       of    your beliefs           you




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Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 34 of 100


       STATE    OF TEXAS             VS.       RUBEN       GUTIERREZ                                 133




  1    believe this man should get the death                                 penalty
  2            A.      Yes           sir because                 he killed   somebody.




  --8
  3            Q.      Listen              listen.           In any set      of    hypothetical

  4    you believe          --       you want          the result to be death               penalty.

  5    You    want    that           okay         And        I    mean   lets say

  6    hypothetically you want                         that       result.    You    want    this man

  7    to die.        Would you answer this one falsely

               A.      Oh        no        I   wouldnt.

  9            Q.      --    to ensure that                      he gets the death         penalty
 10            A.      No        I    wouldnt.

 11            Q.      Would you answer this one falsely

 12            A.      No        sir.

 13            Q.      Would you answer this one falsely




 --18
 --17
 14            A.      No        sir.

 15            Q.      Okay.           So if your reason                 and your common sense

 16    tells you       to answer                this one       no
               A.      I    would have                to    say no       because     that

               Q.      Because             your reason             and your common sense tells

 19    you
 20            A.      Yeah.

 21            Q.      And if your reason and your common sense tells

 22    you    that    he    couldnt have anticipated                         that    a   human   life

 23    be    taken    and    you wanted him to get the death                             penalty

 24    anyway        would you still say                         no
 25            A.      I    would still say                      no.     Yeah.




                                       PAM       L.    ESQUIVEL          CSR RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 35 of 100


        STATE    OF TEXAS         VS.    RUBEN      GUTIERREZ                                           134




   1            Q.      Okay.       So    you would         still be      honest

   2            A.      Yeah.

   3            Q.     And if your reason and your common sense tells

  4     you there       is   something mitigating about                       the evidence             or

   5    the man that         --    where       he deserves        a    life sentence             instead

   6    of   a death     sentence             would you answer it falsely

   7            A.     No        sir.     I    would answer it truthfully.

   8                              MR.    BLAYLOCK           Thats      all     I    have        Judge.

   9                                    VOIR DIRE         EXAMINATION

 10    BY MR.        GALARZA

 11             Q.     Lets        go back         into   that    same hypothetical                    the

 12     same questions            that    he asked you.               Youve        already

 13     convicted      me of       capital murder because                 I   killed the

 14     clerk.       Something in your reason and.common                             sense tells

 15    you he might not             --    its       asking    you      to look       into the

 16     future.

 17             A.     Yeah        into the future               but we       dont       know     the

 18     future.

 19             Q.     Okay.        But       its    asking      you to       look       into    it.


 20    Nobody knows          the future.

 21             A.     Yeah.

 22             Q.     Wed        all be millionairesby now.                         So you

 23    already know          I    committed         capital      murder.           You   already

 24     found    me guilty of            capital      murder okay                  You    looked       at

 25    all the evidence             and you         found    me guilty of capital




                                    PAM       L.   ESQUIVEL       CSR RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 36 of 100


       STATE       OF TEXAS       VS.    RUBEN          GUTIERREZ                                              135




  1    murder.          Now were at the second                        part which               is

  2    sentencing.

  3            A.         Yeah.        Which       is    the sentencing                   yeah.

  4            Q.         You    look at Number                1.     After we present the

  5    evidence          to    you its            shown       that    I   have       a    four-year




  --9
  6    degree.           Its     shown       that       Ive     never          committed any crime

  7    before.

  8            A.         Would    I    consider

               Q.         Hold    on.        Your       reasoning         might tell you maybe

 10    this person will not                   do it again.

 11            A.         Maybe.

 12            Q.         In    the back          of   your mind you                think           This

       person might not do it again.                                 Would you still answer



 --15
 13


 14    yes         even       though

               A.         No     sir.        If    my mind says                --   you    know       if   I


 16    think        Well         maybe       he    wouldnt                right          or something

 17    right        I   wouldnt.

 18            Q.         What    would       it       take   you     to say         no        he    wouldnt
 19    in that          situation

 20            A.         Because       it    depends           you       know       like you         say
 21    that    degree           college       degree          and     you      know        they never          did

 22    anything         like     that        right            But    --    I   would say its kind

 23    of hard because             youre saying that                       I   have       to    --   the law

 24    says    I    have       to consider             it right
 25            Q.         What    Im     trying to do is                   Im       trying to make




                                       PAM    L.       ESQUIVEL           CSR RPR
  --3
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 37 of 100


       STATE    OF TEXAS             VS.    RUBEN    GUTIERREZ                                             136




  1    sure that          you    are going          to be          fair and       impartial because

  2    a   while     ago you          stated       that       to   you      any capital         murder

               A.         Yeah        to me.

  4            Q.         --    case       deserves          death.

  5            A.         Thats        to    me     but the          law requires         it    to go



  --7
  6    look    at

               Q.         And that only murder cases                         --    like   in this

  8    hypothetical             if    they    didnt prove              robbery        but you all

  9    found    him guilty of murder                          only    that    murder case

 10    deserves          life

 11            A.         Yeah.

 12            Q.         Okay.        So    in that          hypothetical           would      --    just

 13    because       I    got    convicted          of       capital     murder       would         you

 14    automatically answer every single                               question       just to make

 15    sure
 --16          A.         Well        to prove       --      because        they proved it to you

 17    that    you       did    it     I    would    say because              you know         --    but   if

 18    they say if you probably                      --       there    be    --   would commit

 19    violence          again       somewhere       else you know                  Im    going       to




 --23
 20    have    to say          yes         because       hes       still going        to do it

 21    anyway.

 22            Q.         So just because                I    committed




 --25
 24
               A.

               Q.

               A.
                          Capital

                          --    capital

                          One time.
                                           murder.

                                              murder




                                       PAM    L.    ESQUIVEL           CSR RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 38 of 100


        STATE    OF TEXAS               VS.    RUBEN          GUTIERREZ                                             137




   1            Q.        --       you believe                that    Ill       commit       it    again
   2            A.        Yes           sir.

   3            Q.        Even          though          Ive     never         done    anything         before

   4            A.        Even          though          you    --    theres people that have

   5    done    nothing in their life and they still go on                                              a    killing

   6    rampage.

   7            Q.        Okay.              So even          though      I    dont       have     any criminal

   8    record and         if       I    committed a capital                     murder once                would




 --11
   9    you
 --10           A.        Would you

                Q.        Just          capital             murder Ive           just committed               it

 12     once    and   I    dont              have       anything else in my record                           okay

 13     do you believe that                        Ill        commit      it    again      automatically

 14             A.        Would you                --       Ill probably             be   convinced           yes
 15     sir.

 16             Q.        So because                of       that     you would automatically say

 17     yes      to Number               1
 18             A.        For the way                   I   believe it yes.

 19             Q.        Okay.              Would you be able to set that belief

 20     aside and         just consider                      everything         thats presented to

 21    you
 22             A.        Well           I    have          to go through            it   yes.

 23             Q.        How       about          murder            If   they found          him guilty of

 24    murder and              I    told       you the          sentencing            range       is   from five

 25    years to       99       years or             life        if    he was         found    guilty of




                                             PAM    L.       ESQUIVEL          CSR RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 39 of 100


        STATE    OF TEXAS          VS.    RUBEN      GUTIERREZ                                    138




  --4
  1    murder         what       would    your sentence           be automatically

  2             A.         Life.

  3             Q.         Would    you      ever




  --7
                                   MR.    BLAYLOCK          I    object        Judge.    Hes
  5    attempting           to bind him to a certain                    set of circumstances.

  6    The   question            should      be

                                   THE    COURT           Ill    sustain.        Would he

  8    consider.

  9             Q.         BY    MR.     GALARZA          Would you consider ever

 10    giving        him five       years if they proved                 murder




 --13
 11             A.         No.

 12             Q.         Would you

                                   MR.    BLAYLOCK          I    object        Judge.    The   form

 14    of the question              --    the form of           the question       is   would you

 15    consider        the full range               of punishment         in a murder case

 16    not knowing           the    facts           And we can      --    I    would ask to

 17    re-voir        dire on       facts         if he   wants    to    go    into that.

 18                                THE    COURT           Weve    gone    over    all this.

 19                                MR.    GALARZA           Ive already          gone   through

 20    all the elements.

 21             A.         The   thing       is that      youre saying           is that    would     I



 22    consider        it    because         they found         him for murder right

 23    How   are you going               to give      somebody      that      murdered five

 24    years          It    has to be a longer              year span.           You    know
 25    automatically youre not going                            to give       him five years




                                       PAM    L.    ESQUIVEL       CSR RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 40 of 100


        STATE       OF TEXAS      VS.       RUBEN       GUTIERREZ                                            139




   1    because          he killed          take       somebodys          life.        Youre going to

   2    consider         the other          things           you    know       the other        years that

   3    you have         to go.

   4            Q.         BY    MR.       GALARZA            So to you         --   and    I   can    quote

   5    you    --    I   believe       you stated                 Justice       is to      do the same

   6    to the person that                  killed          the    person
   7            A.        Yes     same thing.

   8            Q.        Thats        the way you                believe

   9            A.        Yes.

 10             Q.        So to    you           if    they committed murder                    because

 11     the range         of    punishment             is    from five         to 99 or         life    if

 12     they prove         murder and you found                      him guilty of murder                    you

 13    would automatically give him the most you can which                                              is

 14     life
 15             A.        Depending          on the crime                yeah.

 16             Q.        If    it was       murder.

 17             A.        Well     thats              why.

 18             Q.        Okay.        I    was       found       guilty of      murder.         They

 19    couldnt prove              element number                   six    so    you found        me guilty

 20    of    murder okay                   Would       you automatically               give me life or

 21    would you consider everything                               else        Just because           to you



 --23
 22     it    says

                A.        No no            but    it    depends          like you       say the
 24    evidence.           Say if you have                   your background and                stuff like

 25    that maybe you wouldnt.



                                       PAM       L.    ESQUIVEL          CSR     RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 41 of 100


        STATE        OF TEXAS       VS.    RUBEN    GUTIERREZ                                                140




   1            Q.       Okay.

   2            A.       See         It    all depends       on the evidence                 you




  --5
   3    present        and    everything          else.

  4             Q.       But

                A.       Im        just not going          to make       a   choice      right away.

  6     Say if you committed                 --    Im     going    to go      through

  7     everything.            They have          to explain       everything           so       I    can

  8     come out with something                     Hey      he    doesnt have               a       right to




 --11
  9


 10
       go   out
       he did

                Q.

                A.
                        right

                     something
                         So would

                         Yeah.
                                      But    say you know
                                          you know

                                           you consider          five
                                                                        something back



                                                                        to    99   or    life
                                                                                                       there




 --17
 12


 13             Q.       Anything in between                 5    to 99 or         life

 14             A.       In    between.

 15             Q.       I    believe       you also       stated       and    I   can       quote          you
 16     Nothing makes              me less morally blameworthy if                        I       kill

       if   I   kill     somebody.

 18             A.      Who         Me
 19             Q.      Well        me.

 20             A.      Oh.

 21             Q.       If    I   killed     the clerk           theres nothing to you
 22    that     makes        me less culpable

 23             A.      Whats         that culpable
 24             Q.      Less       responsible        for the crime.

 25             A.       If   you killed           him and you make            less



                                      --PAM  L.    ESQUIVEL        CSR RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 42 of 100


        STATE    OF TEXAS            VS.       RUBEN    GUTIERREZ                                                    141




  1             Q.        Is there             anything          that       makes       me less

  2     responsible            if    I   killed        the       clerk

  3             A.        No        sir.

  4             Q.        You       would       automatically just give me death

  5             A.        Because          you    killed him.                 It     depends            on what      you

  6    did.

  7             Q.        I    killed          the clerk.              I    went.    in with a gun.

  8             A.        You       knew       you were          going       to     shoot         him youre
  9    going     to shoot            him.

 10             Q.        If    I   needed        to     I       would       shoot him.

 11             A.        Yeah because                 you       should       not have                gone    in with

 12    a gun.        If       you    didnt have the intent to kill somebody

 13    you    wouldnt take                 a    gun.     You       would just steal the money.

 14             Q.        Okay.          So     theres nothing that makes                                me less

                                                                                                did




 --18
 15    blameworthy              less responsible                   for what             I


 16                                 MR.        BLAYLOCK            I       object       to the form of               the




 --21
 17    question           improperly trying to

                                    MR.        GALARZA            Thats           all       I    have    at   this

 19    time Your Honor.
 20                                 THE        COURT         All right.               Mr.         Sanchez

                                    MR.        SANCHEZ            Yes        sir.

 22                                 THE        COURT         --    let me ask                   you    to step down

 23    for just a             few minutes.

 24                                 MR.        SANCHEZ            Sure.

 25                                 THE        COURT         I    need       to take             up a    legal




                                         PAM     L.    ESQUIVEL              CSR RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 43 of 100


        STATE    OF TEXAS      VS.    RUBEN     GUTIERREZ                                          142




   1    matter    and    Ill     bring you back            in.

   2                           MR.    SANCHEZ          Sure.

   3                           THE    COURT       Okay.           Is this venireperson

  4     acceptable       to the      State

   5                           MR.    BLAYLOCK          Yes        Judge.

   6                           THE    COURT       Is    it    acceptable            to the

  7     defendant

  8                            MR.   GALARZA           Your Honor              at   this time we

  9    would     challenge       him for cause.              Hes        been    going     back    and

 10     forth     but he did state             that    he would          not consider

 11     anything    else.        He would       mainly consider the death

 12    penalty.         Even   in this last hypothetical                       or the last

 13    question         he stated       that    he would just go ahead                    and

 14    automatically give me the death                      penalty and theres

 15    nothing     to him that          would    make      me less blameworthy.

 16                            THE   COURT        Ill        deny       that    challenge.

 17                            MR.   GALARZA          We     at    this time would use a

 18    peremptory         Your    Honor.

 19                            THE   COURT        Number ten.              Okay.        Its
 20    already     1143.         Tell   Ms.     Hernandez          to   be back      at    130     and

 21    bring     in Ms.    Teran.

 22                            THE   BAILIFF          Yes         Your Honor.

 23                            THE   COURT        Mr.      Sanchez         thats        all the

 24    questions        we have      for you     today.           Youre excused to               go.

 25                            MR.   SANCHEZ          All right.




                                  PAM    L.    ESQUIVEL           CSR RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 44 of 100


        STATE    OF TEXAS          VS.    RUBEN       GUTIERREZ                                      143




  1                                THE    COURT         Thank       you        sir.

  2                                MR.    SANCHEZ           Thank        you.

  3                                MR.    GALARZA           Thank        you.

  4                                MR.    BLAYLOCK            Nice       to    see you.

  5                                THE    COURT         Good       morning        Ms.    Teran.

  6                                MS.    TERAN         Good morning.

  7                                THE    COURT         Im     sorry to keep             you waiting

  8    but    some questioning takes                    a    lot longer          than others.

  9                                MS.    TERAN         Thats        okay.

 10                                THE    COURT         And    I    think       were     ready to

 11    proceed.         I    appreciate             your patience.

 12                                You    may proceed.

 13                                MS.    FISCHER           Thank        you     Judge.

 14                                            EVARISTA TERAN

 15           having been called as a prospective                                juror    and     upon

 16           her    oath         was    examined       and    testified          as    follows

 17                                      VOIR DIRE          EXAMINATION

 18    BY MS.        FISCHER

 19             Q.     Good        morning           maam.         How    are    you
 20             A.     Good morning.

 21             Q.     My name is Karen Fischer.                              This is John

 22    Blaylock.            You    met him when             he was       --    when    we were    all

 23    here     last week.

 24             A.     Okay.            Yes.

 25             Q.     We     both work             for the District Attorneys




                                        PAM    L.    ESQUIVEL        CSR RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 45 of 100


       STATE          OF TEXAS       VS.    RUBEN          GUTIERREZ                                          144




  1    Office.              That    means       we    represent             the people       of    Cameron

  2    County             here today.

  3                  A.      Yes.

  4                  Q.      Now     I    have       read through             your questionnaire

  5    and       I    have    been       able to understand some of your feelings

  6    about          some of       the issues we have                      in this case.           But let

  7    me explain             a    little bit             to you       about    how       the whole

  8    process             works.

  9                  A.      Okay.

 10                  Q.      In    the State          of       Texas    we have       a    two-part       trial

 11    system.              The    first part             --    and    if   youre chosen            as    a

 12    juror              your job would be                to decide          whether or not the

 13    defendant             is guilty.

 14                  A.      Yes.

 15                  Q.      The    burden of proof                   during    that      or what        my job

 16    is    I       have    to bring the evidence                      to you and          prove    beyond       a

 17    reasonable             doubt       that       he    did commit          that       crime.

 18                  A.      Yes.

 19                  Q.      If you       find him guilty                    then we move          into the

 20    punishment             phase       of the trial.                 And its during              the

 21    punishment             phase       of the trial that                   you are asked          a    series

 22    of questions.                 And based on your answers                            to those

 23    questions              the Court may or may not                         impose the death

 24    penalty.

 25                                  I   want        to talk          about    both of those             stages




                                          PAM    L.       ESQUIVEL           CSR RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 46 of 100


        STATE    OF TEXAS        VS.    RUBEN       GUTIERREZ                                      145




   1    first the guilt/innocence                      stage.       Now    you understand

   2    this is a capital              murder prosecution

   3            A.       Yes.

   4            Q.       The    defendants             been    accused     of    while     in the

   5    course of committing robbery                          murdering    Ms.    Harrison.

   6            A.       Yes.

   7            Q.       That    means       that      he   could   face    the death

   8    penalty.         But    the law says that               in order     for you to          find

   9    him guilty            you have       to find him guilty beyond a

 10     reasonable        doubt.        Thats          the standard.        But when       we

 11     asked    you Should             the State be            required     to prove       their

 12     case    beyond all doubt              in a capital          murder       prosecution
 13     you    said      Yes.
 14             A.       Well        in that      --    in this     case     I   do not     say

 15     yes
 --16



 --21
                Q.       Okay.

 17             A.       --    or not.

 18             Q.       Okay.

 19             A.       What    I    said is that            my personal opinion           is    in

 20     some    cases     they can          be by Judge         or by     jury     a   penalty

        I   mean     a   penalty       --    of   that      penalty.       Im     sorry.

 22             Q.       Okay.

 23             A.       Some    cases.

 24             Q.       Okay.

 25             A.       And



                                --PAM
                                             L.   ESQUIVEL          CSR RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 47 of 100


        STATE    OF TEXAS          VS.    RUBEN          GUTIERREZ                                               146




  1             Q.      Lets        go ahead             and    talk       about    that        then since

  2    you brought           up    the death             penalty.           You    have    some    real

  3    mixed feelings              about       it.        I    noticed that            you said that              it

  4    may be appropriate                     but that          youre opposed              to    it.        Tell

  5    me how you feel              about          the death             penalty.

  6             A.      Personal          opinion
  7             Q.      Yes.

  8             A.      Okay.        It       is    --    like       I    said in some cases they

  9    need     that    penalty.

 10             Q.      Right.

 11             A.      They need             that.           The    community         need     that.        I



 12    believe       that     if    those people                who dedicate             his life doing

 13    something        --    its        not       in this case.                Lets      say like in

 14    California        they commit a lot of crimes in there.                                         And

 15    some     cases    theyre not                 --    they      dont        do anything        about

 16    it.

 17                               And     I    believe          that       if   they have        some

 18    penalty to do with                 those          people          who do something          thats

 19    not right        for that          community.                And if we can do              --    its
 20    not    like an example.                     For those             people who dedicate                to do

 21    something        thats not right for that community                                       they       --    I



 22    think     they think          --       theyre going to think better                             if

 23    theyre going to do                     --    they continue               with     that    crime.

 24             Q.      Okay.        But you keep                   saying in       --    not     in this

 25    case.         Could you not give the death                               penalty in this case




                                     PAM       L.    ESQUIVEL              CSR     RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 48 of 100


       STATE       OF TEXAS          VS.       RUBEN       GUTIERREZ                                                147




  1    for some       reason

  2            A.         I    do not say             Im     not.        I    do not       say       I   do.

  3            Q.         Okay.           So you       dont know
  4            A.         No.

  5            Q.         Okay.           But what          will happen             is that         youre
  6    going       to be       asked       a    series of questions.                       So       theres not

  7    going       to be       a    sentence          that       says Do you think                       the

  8    defendant          should          receive          the death          penalty               Or    a


  9    question           and you have                to    say        yes      or you          have      to say

 10    no.
 11                                  Instead           you are asked                questions.                And

 12    based on your answers to those                                  questions           the defendant

 13    may receive             the death          penalty.

 14            A.         Uh-huh.

 15            Q.         Okay            And so what             you have          to   do         then       is

 16    answer       the questions.

 17            A.         Okay.

 18            Q.         Okay.           But do you have                feelings          about         the death

 19    penalty that                would cause             you    for him to not want                     to get

 20    it    so you       wouldnt be honest about                             the questions

 21                                  THE       COURT         To answer          the questions.

 22            Q.         BY        MS.    FISCHER               Yeah        in answering.               And

 23    because       if       you have          that       personal          belief      --     I   mean you
 24    told me a minute                   ago you          dont        know    how you          feel about

 25    it.     I    have       to ask you             now        can   you     do    it         Can you




                                          PAM    L.    ESQUIVEL              CSR     RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 49 of 100


        STATE       OF TEXAS       VS.    RUBEN       GUTIERREZ                                            148




   1    answer       the questions             honestly or do you have                       personal

   2    feelings          that    would       cause    you to         say        No     I    dont     think

   3    the death          penalty is a good             idea
   4            A.         No.     I    can    answer    the questions.

   5            Q.         Okay.       The     questions          then they ask you
   6    Whether           there    is a       probability that the defendant                          would

   7    commit criminal                acts of violence               that       would constitute            a

   8    continuing          threat       to society.

   9                               Youre going           to be asked                Will the

 10     defendant          hurt    again            Okay.        And youre going                to have

 11     to make       a    decision       on whether or not you think                          that    will

 12     happen        okay
 13             A.         Yes.

 14             Q.         If    you hear evidence               that       the defendant           will

 15     hurt    again will you answer that question honestly
 16             A.         Yes.

 17             Q.         Okay.       The    next question                 Whether the

 18     defendant          actually       caused      the death             of    the deceased          or

 19     did not actually cause                     the death          of    the deceased         but

 20     intended          to kill the deceased               or another               or anticipated

 21     that    a    human       life would be          taken.

 22                                This question            --    I    know       its       long and

 23     convoluted          --    basically asks            if   you        can    consider      the

 24     death       penalty for people convicted                           under    the law of

 25     parties.




                                       PAM    L.    ESQUIVEL           CSR RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 50 of 100


        STATE    OF TEXAS       VS.    RUBEN    GUTIERREZ                                     149




   1                            And    the law of parties is that               situation

  2     Mr.    Blaylock talked          about    with the bank         robbers.        And you

  3     have    two people       who are going to rob a bank.

  4             A.      Yes.

  5             Q.      One goes       into the    bank     the other         one    stays    in

  6     the car.        Under    the law       theyre equally         guilty.         How    do

  7    you     feel about       that

  8             A.      I    feel that       theyre guilty        I   mean both.

  9             Q.      Okay.     Lets        say that    they both      --    that    they

 10    decide        that    theyre going to rob the bank.                    And so they

 11    both     go into       the bank.        They both have         guns     but only       one

 12    of them        kills the clerk.           Only one of them kills the bank

 13    teller.         The    other    one    doesnt.      The   other    one       is over

 14    there     getting money.              And when    the bank     teller        wont     give

 15    them     the    money he tells his buddy                  Well     just shoot her

 16    and kill her and           lets take the money and run.                        Okay
 17                             Now     of    course     the person      that       caused    the

 18    death         they can    receive       the death    penalty.          Do you    agree

 19    with     that
 20             A.      Uh-huh.

 21             Q.      What    about    the one    that    didnt pull the

 22    trigger
 23             A.      I    believe    that    both are guilty of that                but one

 24    is     the one       who shoot    the gun.

 25             Q.      What    about    the other       one



                                  PAM    L.    ESQUIVEL     CSR RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 51 of 100


       STATE       OF TEXAS       VS.       RUBEN    GUTIERREZ                                            150




  1               A.      The    other       one    is not       going       to be that       killed

  2    it    --    than    the one          who killed the             man        but they had       to

  3    receive          the punish.

  4               Q.      But the law says they can                         get    the same

  5    punishment.

  6               A.      Yes.

  7               Q.      Do you agree             with that

  8               A.      Yes.

  9               Q.      Okay.        What    if    they both          go    in the    bank        they

 10    both have          guns     and       while    one    of       thems getting           the

 11    money the other one kills the clerk.                                       But the other       one

 12    doesnt tell him to kill                       him.        He    doesnt say anything

 13    but they have             this plan.           They both have                their guns       and

 14    theyre both going to get the money.
 15                               Do you think          its           reasonable       they

 16    anticipated someone would have                            to die       if    they were       going

 17    to go       in and       take    the    money
 18            A.         No.

 19               Q.      You    dont          Okay.        This question             asks    you here

                                someone anticipated a human                         life would       be
 20    if    you think

 21    taken           you can consider             the death          penalty.

 22            A.         Yes.

 23               Q.      Okay.        If    you both       --    if    two people       go into a

 24    Circle          K and they both have             guns          and    their goal is to get

 25    the   money but only one of them shoots                                     do you think       the




                                       PAM    L.    ESQUIVEL           CSR RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 52 of 100



        STATE    OF TEXAS       VS.    RUBEN       GUTIERREZ                                   151




   1    other    guy should          have    anticipated they might have                to use

  2     that    gun
  3             A.      Yes     because          both of them    have    guns.

  4             Q.      Okay.        Do you think        the one      that    didnt pull

  5    the trigger should              get the death           penalty
  6                             THE    COURT         Can you    consider.

  7             Q.      BY     MS.    FISCHER         Consider     the death      penalty
  8             A.      I    believe       so.

  9             Q.      Okay.        Can you do       it though          Thats        what    the

 10    question        is.     Youre going to have to answer these

 11    questions.            Can you answer          that   question     and    can    you

 12    consider        the death       penalty
 13             A.      I    believe       so.


 14             Q.     Okay.         The    last question       talks about       things

 15    that     make   you     less to       blame okay          So    lets say you do

 16    think     he might hurt             again     and you do think          that    he

 17    pulled the trigger and he should have                          known    the trigger

 18    was going        to be pulled.             Then   you can      consider    things

 19    that     might make       him less to          blame okay             And then you

 20    can     consider       whether life or death             is more       appropriate.

 21                             Okay.        Is there       something in your mind

 22    that     youre always going to consider or some reason that
 23    you may always           consider          life in prison to be better                than

 24    death

 25             A.     Well      yes.




                                     PAM    L.   ESQUIVEL      CSR     RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 53 of 100


        STATE    OF TEXAS             VS.      RUBEN       GUTIERREZ                                             152




  1             Q.         Tell       me what         it    is.


  2             A.         Well          it    depends       on the evidence.               It    depends

  3     in what          we hear that            --    the person          whos      going       to       testify

  4    on the case.                  And it depends               on the circumstances                     I


  5    mean what               we    see and what            we hear.

  6             Q.         So then              you    havent made your mind up that

  7     life is always better                     than       death

  8             A.         Uh-huh.

  9             Q.         Youre going to consider everything                                you          hear

 10             A.         Yes.

 11             Q.         Okay.         Then     the last question                Im      going          to ask

.1     you    and        then       Im   going        to let Mr.          Galarza-talk           to you          is

 13    that     because             the death         penalty is an option                 and because

 14    this is a           serious            offense        I    have    to prove        this to you

 15    beyond        a   reasonable             doubt        but not beyond all doubt.                           I


 16    have     to prove             those      first two             questions.      I   have        to       prove

 17    that     hes        guilty beyond a                  reasonable        doubt       not beyond

 18    all doubt.               Can you         follow       that       law
 19             A.         I    believe         so.

 20             Q.         Okay.          So    youre not going to say that                           I    have

 21    to be     100       percent            right or all            doubt     Youre going to

 22    follow        the       law
 23             A.         Yes.

 24                                   MS.      FISCHER            I   dont    have    any further

 25    questions               Judge.




                                          PAM    L.    ESQUIVEL           CSR   RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 54 of 100



        STATE   OF TEXAS          VS.   RUBEN    GUTIERREZ                                     153




   1                              THE   COURT      All right.           Let me      --   its
  2     five    til       12.     Youre going to take             a while.          So let

  3    me
  --4                             MR.   BLAYLOCK         Can we approach            right    now
  5    Judge
  6                               THE   COURT      All right.

  7                               Off the record discussion                   at the     bench

  8                               THE   COURT      Let me excuse          you for just one

  9    minute.        I    need    to take      up a    legal matter          and   then    Ill
 10    bring    you back          in.

 11                               MS.   TERAN      Okay.

 12                               THE   COURT      Thank       you.

 13                               Prospective          juror left       the courtroom

 14                               THE   COURT      All right.           The    State had



 --16
 15    something          to

                                  MS.   FISCHER         Your    Honor     at    this time

 17    were     going          to use a peremptory strike against                    this

 18    juror.

 19                               MR.   BLAYLOCK         If    theres no objection

 20    from the defense.

 21                               MR.   GALARZA        Theres no objection.

 22                               THE   COURT      Okay.        Thatll be number

 23    seven

 24                               MR.   BLAYLOCK         Yes     sir.

 25                               THE   COURT      Bring her in.




                                    PAM   L.    ESQUIVEL        CSR     RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 55 of 100


        STATE   OF TEXAS      VS.    RUBEN    GUTIERREZ                                           154




   1                          Ms.    Teran thats              allrthe questions              we

  2    have     for you   today.

  3                           MS.    TERAN         Okay.

  4                           THE    COURT         Youre excused to go                  and

  5    thank    you   for your patience.

  6                           MS.    TERAN         Okay.        Thank    you very much.

  7                           THE    COURT         Thank      you.      Be back    at    130
  8    then.

  9                           MS.    FISCHER            Yes     sir.

 10                           Lunch recess              taken    from    1153     a.m.       to

 11                           132 p.m.
 12                           THE    COURT         All right.           Okay.     Were        back.

 13    You may be     seated.         Bring    in Ms.         Hernandez.

 14                           Good    afternoon           Ms.    Hernandez.

 15                           MS.    HERNANDEZ            Good      afternoon.

 16                           THE    COURT         How    are    you
 17                           MS.    HERNANDEZ            All right.

 18                           THE    COURT         Sorry we had to reschedule                     you

 19    this afternoon          but    it    took    a    little longer          with    some

 20    other    people    this morning.

 21                           MS.    HERNANDEZ            Oh     its     okay.

 22                           THE    COURT         Just    do me a favor          and    speak

 23     into the microphone           so everybody            can     hear you.        The

 24    lawyers have       a   few more       questions          for    you okay
 25                           MS.    HERNANDEZ            Okay.




                                PAM    L.    ESQUIVEL           CSR     RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 56 of 100


        STATE       OF TEXAS         VS.    RUBEN       GUTIERREZ                                                    155




  1                                  THE    COURT            Go ahead.

  2                                  MS.    FISCHER               Thank       you    Judge.

  3                                           ROSA          HERNANDEZ

  4           having          been    called       as       a prospective            juror          and     upon

  5           her        oath was examined and testified                              as       follows

  6                                        VOIR DIRE          EXAMINATION

  7    BY MS.        FISCHER

  8             Q.        Good       afternoon              Ms.       Hernandez.          How       are you

  9    doing
 10             A.        All right           maam.

 11             Q.        We    need       to talk          to you       --    Ive    read your

 12    questionnaire and so                    I    know          a    little about            --    actually

 13    I   know      a   lot    about       you.        I    know       that    youre pursuing                   a

 14    criminal justice                degree       and       that       you plan some               day to

 15    have     a    career      in that.           Tell          me what       you want            to do

 16    within        the criminal            justice          system.

 17             A.        I    wanted to go into probation officer.

 18             Q.        Okay.        Youre planning on continuing                                  on with

 19    that          Are you         still attending                   school

 20             A.        Not    at    the time.

 21             Q.        Okay.

 22             A.        But    I    do want       to go back.

 23             Q.        Okay.        You    also said                that    --   and    I    guess       as

 24    part     of your schooling                  youve              been    to a maximum security

 25    prison.           So you know          what          prison       is    like and         youve        also




                                       PAM    L.    ESQUIVEL                 CSR    RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 57 of 100


        STATE    OF TEXAS          VS.    RUBEN       GUTIERREZ                                            156




   1    been    to what          they call       the death        chamber            over    in

   2    Huntsville           is that       right
   3            A.         Thats     correct.

  4             Q.         Okay.     Well        now     you know          that       this is a case

   5    that    involves          the death          penalty.        Thats           a possible

   6   punishment in this case.                        Is there       anything          about       your

   7    experiences          in school          that    may cause          you       to be unfair          in

   8    this    case

   9            A.         No.

 10             Q.         Okay.     The    reason why          youre here and the
 11     reason why we get                to talk       to you one-on-one                is because             we

 12    need folks            we need 12 people who                   can    be       fair and

 13     impartial.           And so        that       means    that    not only             the people

 14    of    Cameron County               who    I    represent       here today              but

 15    Mr.     Gutierrez           he has the right to have                      a    fair trial.

 16                                So if there          are things          that       you have       very

 17     strong       feelings       about       that    may cause          you to be unfair

 18    then     thats        what    I    need       to talk    to you about                because       we

 19     just    --   you know            you would agree             with    me that          everybody

 20    deserves        a    fair    trial

 21             A.         Yes.

 22             Q.         Okay.     Theres           something       else then               that    I


 23    noticed and           that    was    the fact          that    your house             has gotten

 24    broken into a couple of times and your purse has gotten

 25     stolen



                                     PAM    L.       ESQUIVEL        CSR RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 58 of 100



       STATE    OF TEXAS       VS.       RUBEN          GUTIERREZ                                                  157




  1            A.      Thats        correct.

  2            Q.      Okay.        Tell       me about             that.           Is    that       going    to

  3    cause    you    to have          any problems being a fair                               juror
  4            A.      No.     There          wont          be no problem.

  5            Q.      Okay.        And the fact                   that    you          say your husband

  6    has been       arrested for drug charges                            in the             past        is that

  7    over    and done       with
  8            A.      Oh     yes.        That          was    back       in       --    when    he was       in

  9    high    school.

 10            Q.      Okay.        He    doesnt have                    any pending cases                   right

 11    now    in any of       the courts                or anything like                      that

 12            A.      No.

 13            Q.      Okay.        So once             again        I    have          to ask       you the

 14    question        can    you be          fair or you will not hold                               it    against

 15    anybody because             of    some of your past                         experiences

 16            A.      No.     I    think          I    can    be    fair.

 17            Q.      Okay.        The       --       we    asked       you       the question             about

 18    if    youve     known       anyone          whos        been       to the penitentiary.

 19    Do you know       someone          whos              been    to prison             before

 20            A.      Well        my husbands stepfather                                has been.

 21            Q.      Okay.        Why did he go to prison

 22            A.      As far as          I    can          remember           I    think       --    I    dont
 23    know    if   he killed or he tried to kill his wife.

 24            Q.      Okay.        Did you know                   him when all that was going

 25    on or was       that    long before                   you met your                husband




                                    PAM       L.       ESQUIVEL           CSR           RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 59 of 100



       STATE      OF TEXAS      VS.       RUBEN    GUTIERREZ                                                       158




  1              A.     No.     That       was    long before             I    met him.

  2              Q.     Okay.        Do you have             any personal            --    I       mean        this

  3    case      obviously      involves          a murder.           I       mean     are there               any

  4    personal        feelings       that might cause                you       to be unfair                  in

  5    this      case
  6              A.     No.

  7              Q.     Okay.        Now     we need          to talk          about      the          law.

  8    Weve       asked    you a      lot    of    personal questions.                         I       need    to

  9    talk      to you about         the law.           In    the State of Texas                        we have

 10    a    two-part      trial system.

 11                             The       first part of             that        if you         were          chosen

 12    as    a   juror would mean your job would be to decide

 13    whether or not the defendant                          is guilty.           Its my                job to

 14    prove      it   to you.        I    have    to prove          to you the elements                           of

 15    the crime that           hes        accused       of     and       the elements                  of the

 16    crime that         hes       accused       of theyre               up    there.             I    have       to

 17    prove      to you that         while       in the course of committing

 18    robbery         that   he murdered Ms.                 Harrison.

 19                             I    do that       beyond       a    reasonable           doubt.               That

 20    is   the standard            of the level of             evidence          that         I       have    to

 21    prove      to you in this court.                      And thats           not beyond                  all

 22    doubt      or beyond a shadow               of    a    doubt.           Its     beyond            a

 23    reasonable         doubt.

 24                             But when          we asked          you in your

 25    questionnaire          if     you would          hold the State               to a higher




                                     PAM    L.    ESQUIVEL           CSR RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 60 of 100


        STATE       OF TEXAS       VS.    RUBEN          GUTIERREZ                                          159




  1    burden on a capital murder case                                 you    said      yes    that    you

  2    would.

  3                                Tell       me why you             think    we       should be held to

  4    a   higher         burden.

  5             A.         I   dont      know.

  6             Q.         Okay.        The    law is beyond a reasonable                       doubt.

  7    Thats         what      the law        is.       And the law is the same for all

  8    cases.            Whether it be a drug charge                          or a driving while

  9    intoxicated             charge         a murder charge                or a capital           murder

 10    charge            the law says the burden                      of    the    proof the burden
 11    that     I    have      stays     the same.              It    doesnt change.

 12                                How    do you          feel about          that      knowing      that

 13    the burden of proof                    is the          same whether this be              capital

       murder or D.W.I.




 --19
 14

 15             A.          No response.
 16             Q.         Do you think             thats        a    bad law

 17             A.         No     because       you have             your    --    I   mean you have

 18    your duty and your duty                          is    you     know        to do that.         So

                Q.         And thats           --       the    law says       thats all         I    need       to

 20    do.      I    dont        have    any higher             burden       just because           its     a




 --25
 21    capital           murder case.           How       do you feel             about   that

 22             A.          No response.
 23             Q.         Do you think             I    should       have    a higher        burden

 24    Should        I    have    to prove          it    to you beyond all doubt

                A.         Yes.




                                        PAM    L.       ESQUIVEL           CSR RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 61 of 100



       STATE       OF TEXAS             VS.       RUBEN             GUTIERREZ                                               160




  1            Q.         --       or beyond a shadow                         of    a    doubt

  2            A.         I    think          you should                   prove    it       all you        know.

  3            Q.         Beyond          all       doubt

  4            A.         Beyond          all doubt.

  5            Q.         Okay.           Thats                 not    what       the law is.              The    law

  6    says    I    have       to prove             it          to you beyond a                reasonable           doubt.

  7    You    have    to use your reason                               and    common sense                and     after

  8    careful       and       impartial                consideration                    reach       a    decision.

  9                                     Thats           what          the law says             I    have    to do.           I


 10    dont        have       to prove             it       to you 100             percent.              And in fact

 11    theres probably no way                                   I    can    prove       it   to you        100   percent

 12    unless you             were       there          and you saw                it    happen           okay         So    I


 13    cant        do that          and       I    dont             have     to okay                That    is the

 14    law.

 15                                     Can you             follow          that    law or do you have

 16    personal       feelings                in your heart                   that       says If            Im     not

 17    100    percent          sure then                    I       could    never       convict
 18            A.         I    would say depending on the case                                            but    in this

 19    case        its        --    I    mean           I       wasnt        there.

 20            Q.         Right.

 21            A.         So       Id     have          to          just you know                  just hear        the

 22    evidence           hear          whats           there.

 23            Q.         Okay.           Could             you       follow       the       standard       --    if   when

 24    the Judge          gave          you       the       law        if    he    says The standard                        is

 25    beyond a reasonable                         doubt               which       is not          beyond all




                                          PAM       L.          ESQUIVEL           CSR RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 62 of 100


       STATE       OF TEXAS       VS.    RUBEN          GUTIERREZ                                                           161




  1    doubt        which       is not       beyond a shadow                of    a    doubt                 which          is

  2    not    100       percent        its beyond           a    reasonable                doubt                 can       you

  3    follow       that    law
  4            A.         Yes.

  5            Q.         Okay.        Thats       what     I   need        you       to do.                 I    need

  6    you    --    and    if you       dont        like the          law        thats okay.                           And

  7    if    you    cant        follow       it thats okay                   too.              There             arent
                                                                                                                  need
  8    any right or wrong answers                         in all of this.                          But       I               to

  9    know    how you          feel    and honestly how you                      feel             so    that          both

 10    sides get a fair trial                      okay          Because          --       and          if       its        not

 11    fair you know                  that    --   thats not fair for either                                          side.

 12    Its     not fair for the people                      of Cameron                County                 its           not

 13    fair for the defendant.

 14                               Tell       me then            knowing that                       okay           you

 15    have    to come          to a point         where        if    you do find                   the

 16    defendant          guilty        you will then be                asked          a       series of

 17    questions.           And based on your answers                            to those                questions

 18    the death          penalty may be imposed.

 19                               Tell       me what       your feelings                   are about                   the

 20    death       penalty.

 21            A.         What    I    feel    about       the death             penalty is                      --    I



 22    mean        if   you committed the crime                        then       thats                 --       you have

 23    to also          think    about       the consequences.                    So       I       mean

 24    depending          on the       seriousness of the                   crime              I    mean              if

 25    thats        what    its        going       to    take        then    do       it.




                                       PAM    L.    ESQUIVEL           CSR RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 63 of 100



        STATE    OF TEXAS          VS.    RUBEN       GUTIERREZ                                                162




   1            Q.      What       types of crimes do you think                         should        have

  2     the death       penalty
   3            A.      Intentional                 you    know        crimes       like   intentional

  4    murder         you know.

  5             Q.      Okay.        In       the State          of Texas       one of     the ways

  6     that    you    can    be    subjected             to the death          penalty is if

  7    while     committing robbery or you murder someone while

   8    committing a          robbery           youre robbing someone like                           in the

   9    Circle       K hypothetical             Mr.       Blaylock has used             before where

 10    you go        into the       Circle K and                while    youre stealing               the

 11    money from the store clerk                              while    youre robbing her
 12    holding        her at gunpoint                 you kill her              the    law says that

 13     that    can    be    --    that       is capital          murder and that            the death

 14    penalty can           be assessed             against          you.    How     do you        feel

 15     about    that
 16             A.      No response.
 17             Q.      Do you think                that       should be a       capital        offense

 18             A.      I    think       so.

 19             Q.      Okay.        Why       do you          think

 20             A.      Because           I    mean        he had a chance             to think.               I


 21    mean      he was       going       to go and             rob something          and      I    mean

 22    he    should     have       known       that       if    something was          to go        wrong
 23    you     know     and       in order          for you to get out of                  it       you

 24    would probably have                    to do       something worse.

 25             Q.      Now        when       we asked          you    if you    wanted      to be         a




                                     PAM       L.    ESQUIVEL           CSR     RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 64 of 100


       STATE    OF TEXAS             VS.       RUBEN       GUTIERREZ                                                           163




  1    juror in this                case        you told             the Judge               no      that       you did

  2    not want       to be          a    juror in this                   case           and that          one          of    the

  3    reasons       or the reason why                      is that             while          you       knew           you

  4    know    --   you have              a    criminal justice                      background.                    Im        sure

  5    you    find a       lot of this very fascinating                                         but that                you

  6    would not want                the life of that                         person          in your hands.

  7                                  Tell       me why you                dont           want       to be       a       juror.

  8    Is that       the reason                why
  9            A.      I    just          --    I       mean     I    dont           know.           Ive        given          it

 10    a   lot of thought                 and       I    feel    like          --    I       feel    --    I    would

 11    feel    bad     you          know        to have          a    life you know                        of       a    young

 12    man in my hands.

 13            Q.      Okay.

 14            A.      I    mean              maybe you know                    --       I   dont         know.              Maybe

 15    later on       it    changes                 but after             I    hear everything                          but

 16    you    know     right now                its        --    I    think          about          it    and       its
 17    like to have             a    life of a person in my                                  hands        its           hard.

 18            Q.      Okay.              Let me talk                to       you then               about          how this

 19    system works.                 Youre not actually asked                                   a    question                that

 20    says     Do     you think                this defendant                      should          receive             the

 21    death    penalty                   Youre not asked                       that         question.                  You

 22    dont     have       to       check       yes         or       no.
 23                                  Instead             youre asked                 these          three       special

 24    right here.              And based on your answers to these                                              three

 25    questions           then          the Judge          makes             a determination                   about




                                          PAM       L.    ESQUIVEL              CSR          RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 65 of 100



        STATE    OF TEXAS       VS.      RUBEN     GUTIERREZ                                           164




   1    whether       or not    to impose the death                   penalty.

   2                            THE      COURT          After someone is found                  guilty.

   3            Q.      BY     MS.       FISCHER         After       --   yes.     If    the

  4     defendant       is   found       guilty         if    you    find him guilty.             So

   5    lets get to that point                     then.          Lets      say you do find            the

   6    defendant      guilty or a defendant                      guilty of capital murder.

   7    You    find that       while       committing             robbery      he murdered

   8    someone.

   9                            The      first question             youre going to be
 10     asked    is   whether there              is a    probability that               the

 11     defendant      would commit criminal acts of violence                                  that

 12    would constitute              a   continuing           threat      to   society.         Do you

 13    understand what           that       question          is asking        you
 14             A.      If   he can        repeat       it.

 15             Q.     Exactly.            Okay.        Lets        say that      you    do find

 16     that    he may hurt          again        okay            Lets     say that     you     listen

 17     to the evidence              maybe       hear about         his background and

 18     think        Yeah      hell probably                 do   that    again.

 19                             Now        if    you answer this question                     yes
 20     the defendant          may receive          the death             penalty       okay

 21             A.      Nods head.
 22             Q.     Are you going              to be able          to answer         this

 23    question       honestly when              in the back          of your mind you            know

 24    that     he may receive             the death          penalty
 25             A.     After hearing the evidence                          yes.




                                     PAM    L.    ESQUIVEL           CSR RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 66 of 100



        STATE      OF TEXAS         VS.    RUBEN          GUTIERREZ                                             165




   1            Q.         Okay.      So then youre                         not going           to have      any

  2     feelings          in your heart                 that    youre going to say                     Im
   3    going      to answer         this           no        because       I   dont       want    him to get

  4     the death          penalty.            I    dont        want    his death              on my   hands
   5            A.         Uh-uh.         No.

  6             Q.         Okay.      Well              thats       different         from what          you

   7   were     saying a minute                    ago.        Can you do            it        Can you answer

   8    the question               honestly

   9            A.         I   mean       after hearing                the evidence              and

 10     everything             I   mean        I    think       I   can.

 11             Q.         Okay.      Now           lets talk           a       little bit about             that

 12    question           what     the word             society         means.            What    does    the

 13    word     society             mean       to       you
 14             A.         Can you        repeat          it
 15             Q.         This question                 --    this word         right         here society

 16    what     do you think              of       when       you think         of   that      word society

 17    Who    is     society
 18             A.         Like me or the rest of                       the people.

 19             Q.         And the people youre                        around.            So even      the

 20    people        in    jail they have their own society
 21             A.         Yes.

 22             Q.         Okay.      So       youre going to be asked                           a question

 23     to decide          whether or not                 hes       going       to be      a    continuing

 24     threat       to    society.            Based          on the evidence              that    you    hear

 25     can   you answer            that       question             honestly




                                      PAM          L.    ESQUIVEL           CSR RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 67 of 100



       STATE    OF TEXAS         VS.    RUBEN       GUTIERREZ                                       166




  1            A.      Yes.

  2            Q.      Okay.          Even    knowing the defendant               could      be

  3    considered for the death                     penalty
  4            A.      Yes.

  5            Q.      Okay.          The    next question         then    asks       you whether

  6    the defendant            actually          caused    the death      of    the deceased

  7    or did not          actually         cause    the death      of    the deceased            but

  8    intended       to kill the deceased                  or another          or anticipated

  9    that    a human         life would be          taken.

 10                              This question right here asks                        you to take

 11    into    consideration            what       we call the      law of parties.                And

 12    the law of parties               is the       situation      where       Mr.    Blaylock

 13    had    talked       about      before       where    two people go         into a       store

 14    the Circle          K    to rob it.

 15                              And lets say that one goes                      in and      the

 16    other    one    is waiting            out    in the car to drive               away   as    soon

 17    as Mr.       Blaylock gets the money you know.                            Lets        say   Im
 18    waiting in the car to drive                        him away.

 19                              The    law of parties says               were        both   equally

 20    guilty if we both planned                      participated         in the commission

 21    of    the crime.          Even       though    I    didnt go       in the       store and

 22    actually take            the    money the law says                Im     just as guilty

 23    of    robbery.          How    do you       feel about      that

 24            A.      I    dont       think       its     fair.

 25            Q.      Why dont you think                   its fair



                                      PAM    L.    ESQUIVEL        CSR RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 68 of 100


       STATE      OF TEXAS           VS.    RUBEN          GUTIERREZ                                        167




  1            A.         Because           I    mean        if   that       one person without

  2    even    thinking             about       it    goes    and   kills and the other

  3    person       --    I    mean        even       though      he helped       or he had          a    part

  4    in    it     I    mean        how did that             other      person    know       that       this

  5    other      person was going                    to    kill

  6            Q.         Okay.           Well        lets talk          a    little bit      more

  7    then because                 its very           important         that    you    tell me how

  8    you    feel about             it because             the law is such            that   you can           be

  9    considered             for the death                penalty if you actually cause

 10    the death          of    a    person.

 11                                  So    lets say           Mr.   Blaylock       did go       into that

 12    store and          he    shot the store clerk                     while    he was       robbing

 13    her.       You     would agree                with me he actually               caused    that

 14    store clerk             to    die
 15            A.         Nods head.

 16            Q.         The       law says that             he can         receive    the death

 17    penalty because while                         in the course            of committing

 18    robbery           he murders someone.                      How do you feel about                   that

 19            A.         Im        not sure.

 20            Q.         Okay.           But    now        lets add me to this.                 We       have

 21    a   plan.         Were        going       to go       into the         Circle K together             and

 22    were       going        to rob it.              We    both   take       in our knives.              We

 23    both have          our weapons.                 And while         hes     over    there       talking

 24    to the       store clerk             telling          her to give         him the money              Im
 25    over    at       the beer cooler                getting      some beer that            were



                                          PAM    L.    ESQUIVEL          CSR RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 69 of 100


        STATE     OF TEXAS       VS.    RUBEN    GUTIERREZ                                              168




  1    going      to take       also during       our robbery.

  2                              The    store clerk          wont     give          him the money.

  3     So   I   tell    him     Well      just stab          herget            her out of         the

  4    way       kill    her     and    lets get the money and run.                              So he

  5    does.

  6                              Now     once    again he did the stabbing                             so

  7    he actually         caused       the death.           But even          if   you did not

  8    actually         cause    the death       but you       intended             that    they be

  9    killed          the law says that          I    can    receive          the death

 10    penalty.          How do you feel about                that

 11              A.      Well     if    this other       person           like you          said like

 12     if you        are the one       that    actually told him                    Well        stab

 13    her        then    theyre both guilty.
 14              Q.      Okay.     Do you think          I    should       receive          the death

 15    penalty
 16              A.      Yes.

 17              Q.      Okay.     Now     the last part             of this is if you

 18    anticipated         that    a    human    life would          be    taken           you   can

 19    receive         the death       penalty.        You    can    be    just as guilty

 20    under      the    law of    parties and          receive       the same type of

 21    punishment.

 22                              And this is probably what                      you were         talking

 23    about      a    minute    ago     which    is    why    I    want       you to pay very

 24    particular         attention       to the last part                of    this question

 25    when      you    said you never          know    and    how can          one    --    you   know



                                   PAM    L.    ESQUIVEL           CSR     RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 70 of 100


       STATE       OF TEXAS      VS.       RUBEN          GUTIERREZ                                              169




  1    the driver            be responsible                if       he       didnt know.

  2                              Lets           say we go into                   the Circle          K    he and

  3    I.     We    both have         our knives                and we both             say you know
  4     Were        going      to get the money.                             Thats     our     goal you
  5    know.        While     youre getting                     the          money     Im      going     to go

  6    get the beer.             Weve           got to get the                   money and then lets
  7    get out of            here.

  8                              Lets           say while                this is going           on      the

  9    store       clerk      wont        give       him the money                    so he does         kill

 10    her.        And then we run and                     I    didnt           say the        words.Go
 11    ahead       and   kill    her John.                      I    didnt           say those       words but

 12    I    went    in there      with          my weapon                and    he went        in there        with

 13    his    weapon          and we knew                we were             going    to get the money.

 14                              Now        I    didnt              actually cause              that     store

 15    clerk       to die as far as                  I    didnt actually do the stabbing

 16    but    do you think            I    anticipated                   a    human    life might be

 17    taken

 18            A.        Yes     because             you       had that          goal.

 19            Q.        Okay.        But now the law says if                              I   anticipated

 20    that    a    human life would                     be taken              then    I       too   just like

 21    Mr.    Blaylock          can       have       the death                penalty as my

 22    punishment.            How do you feel about                             that

 23            A.        I   would say its fair.

 24            Q.        Okay.        Now thats                     different          from what         you told

 25    me before         about    the driver                   not knowing.                Do you      feel




                                      PAM       L.       ESQUIVEL              CSR     RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 71 of 100


        STATE    OF TEXAS             VS.    RUBEN       GUTIERREZ                                         170




 --7
  1     comfortable          with that             law now       that       weve     talked    about       it

  2     and    Ive explained                 it    to    you
  3             A.      Yes.

  4             Q.      Okay.           So you could             find       the other       party        the

  5    person who           didnt pull the trigger guilty under                                    the law

  6    of     parties       if    you       thought       the evidence             was    sufficient

                A.      Yes.

                        --       and    sentence          them    to    the death          penalty




 --11
  8             Q.

  9             A.      Nods head.
 10             Q.      Okay.           Or consider

                A.      Consider.

 12             Q.      You       have       to answer          these       questions       honestly is

 13    what     Im    saying.               And if you have             a    hidden       idea that

 14    maybe         Well         I    dont        think       the person who             didnt     do the

 15    stabbing         I    dont           think       they    should       ever    receive       the

 16    death     penalty               then that          might cause             you to answer one

 17    of these       questions              falsely           wouldnt you agree              with       me
 18             A.      Yes.

 19             Q.      Are you going                   to do    that
                                                           r


 20             A.      No.

 21             Q.      Okay.           The       last question              then        is what   we     call

 22    the mitigation question.                           And mitigation basically the

 23    definition is something that                             makes       you    less morally

 24    blameworthy               makes       you       less to blame.

 25                                   And the law says you have                      to consider




                                        PAM       L.    ESQUIVEL        CSR RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 72 of 100


       STATE    OF TEXAS         VS.       RUBEN    GUTIERREZ                                            171




  1    those    things.          You have          to    consider    the evidence             of   the

  2    case     the circumstances                  about    the    case        the    certain

  3    things       about    the defendant               that    you may or may not                hear

  4    and   also the defendants                    role    in this.

  5                              And then you have                to find       if    there    are

  6    some mitigating circumstances                        or even       a    mitigating

  7    circumstance          to warrant            life in prison rather                   than death.

  8    The   law says you have                to make       that    consideration              okay

  9                               Is there         anything       about       your feelings

 10    about    the    death      penalty that             are always going                to make you

 11    say     I     think       life is better than               death
 12            A.      No.

 13            Q.      Okay.          So    you    can    consider both             punishments          and

 14    you   can     answer this question honestly                             If    you do hear

 15    something       thats mitigating then you can say                                    Yes      I    do

 16    think    theres something that maybe                         --    that       life is

 17    better          What       if you      dont        hear anything             good about       the

 18    defendant            Can you         say     Death        is better          than    life
 19            A.      Yes.

 20            Q.      Okay.          There       are a couple       of       things       about   the

 21    law that       are sometimes               contrary       to what       we    think     you

 22    know     the    law ought            to be.        One of    those       is    that    in the

 23    State of       Texas       a    husband doesnt have                    to testify against

 24    the wife.           How   do you feel             about    that    law

 25            A.      I    would say its fair.




                                      PAM    L.    ESQUIVEL        CSR RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 73 of 100


       STATE    OF TEXAS          VS.    RUBEN       GUTIERREZ                                               172




  1            Q.      Okay.        Even       if    the wife          saw the crime being

  2    committed           she does       not have             to testify           and    I    cant

  3    force    her to testify                 okay           Are you going           to hold          it

  4    against       me if you          dont        hear       from the       wife

  5            A.      No.

  6            Q.      Okay.        The       same       thing    goes       for co-defendants

  7    and   co-defendants              are people            who commit        a    crime together.

  8    Lets     say Mr.          Blaylock          and    I   went     and    robbed       that

  9    Circle       K together           then we would                be considered

 10    co-defendants.

 11                               They    cant           make    him testify          against          me.

 12    The   State     cant        force       a    codefendant          to get up             there    and

 13    testify.        He has a right to remain                         silent just like the




 --17
 14    defendant       does.        How       do you feel about                that

 15            A.      I    would       say the defendant                would      want        to say

 16    something       on his       part but              I   mean

               Q.      Okay.        Now thats                  another       part    of the law

 18    thats        very important.                 The       defendant       here in the State

 19    of Texas       has    a    constitutional                right to remain                silent.        He

 20    doesnt have           to say anything                   and he    doesnt have to put

 21    on any       evidence.           How    do you          feel    about    that

 22            A.      I    would feel sad on his part.

 23            Q.      Okay.        Lets           say he       didnt take the stand.

 24    Lets     say he       didnt get up there and say anything on his

 25    behalf        didnt        say anything                to try and       save       himself.




                                    PAM       L.    ESQUIVEL           CSR RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 74 of 100


        STATE    OF TEXAS      VS.   RUBEN       GUTIERREZ                                      173




  1    Would you hold that               against       him
  2             A.     No.

  3             Q.     The    law says that            you    cant.      Can you       follow

  4    the    law
  5             A.     Yes.

  6             Q.     Okay.     Now       what    about       that    codefendant        are

  7    you going       to hold it against               him if he doesnt get up

  8    there     and   say what      he    saw
  9             A.     No.

 10             Q.     Okay.     Now       sometimes          codefendants       do testify.

 11    They do get up there.                   Lets     say Mr.       Blaylock    cuts    a

 12    deal      and   in exchange         for his truthful             testimony they

 13    offer him half          the amount         of    time they offer me.              Lets

 14    say they        say    Okay.        You    can    do 25 years instead             of   50.

 15    How do you feel about               somebody          doing    that cutting        a

 16    deal
 17             A.     Theyre betraying that other person.
 18             Q.     Okay.     Do you think            it    makes    them

 19    untrustworthy

 20             A.     Yes.

 21             Q.     Why
 22             A.     Because       I    mean     to do the crime              they trusted

 23    each     other but then they cant trust each other after                                   I



 24    mean      they get caught.

 25             Q.     Do you    think         he might come          in here    and    lie to




                                 PAM      L.    ESQUIVEL        CSR     RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 75 of 100


       STATE    OF TEXAS      VS.    RUBEN       GUTIERREZ                                     174




  1    try and      save    his own       skin

  2            A.     Yes.

  3            Q.     How    can    you tell       if   hes     telling     the    truth

  4    How   can    you tell if any person is telling                      the    truth

  5            A.     You    cant        tell.     Its    that    inner     feeling        I



  6    guess.

  7            Q.     Okay.        What    do you do in a         situation        where

  8    youre trying to make                a    determination       about    whether

  9    someones       telling       you the       truth

 10            A.     Just    hear whatever they have                to    say.

 11            Q.     Okay.        Do you watch         them watch their demeanor

 12    watch    how they      act
 13            A.     Yes.

 14            Q.     Okay.        Could       you do the same to the witnesses

 15    in this      case

 16            A.     Yes.

 17            Q.     Okay.        Because       youre going to have to make                   a

 18    judgment      call    as    to whether or not you             think       theyre
                    the truth        okay         Can you treat them             all the




 --24
 19    telling

 20    same whether they be cops                    whether they be doctors

 21    whether they be a codefendant

 22            A.     Yes.

 23            Q.     How can you tell if somebody                   intentionally

       and you had said this before                     about    an intentional

 25    killing.       How can you tell if somebody                   intends       to do




                                   PAM    L.    ESQUIVEL      CSR    RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 76 of 100


       STATE    OF TEXAS          VS.       RUBEN             GUTIERREZ                                              175




  1    something               Can you get                in a         persons mind and see what
  2    theyre thinking
  3            A.         No.

  4            Q.         Then    how do you                      tell

  5            A.         You    cant           tell.

  6            Q.         What    if    I       go    over here and                     I    go like    this to

  7    Mr.    Blaylock            What          did       I       intend         to    do
  8            A.         Push him.

  9            Q.         Okay.     What             if       I    said          I     didnt want          to push

 10    him.     It       was    an accident.                      As    I       was    getting up from my

 11    chair        I    accidentally brushed up against                                       him         What     if   I


 12    said    that would you believe                                  me
 13            A.         No.

 14            Q.         Why
 15            A.         Because           I    mean              just by the way you did                     it
 16    you can          tell    it was          intentional.

 17            Q.         Okay.        Is       there             anything            that   you want       to ask

 18    me about          this case          or maybe                about         your feelings            about     the

 19    death    penalty            Because                this is the last time that                           we get

 20    to visit.           Once    the trial starts and                                 youre chosen           as    a

 21    juror        Im     not allowed to talk                              to you.           Is   there    any

 22    questions          --    are there             any questions                     you have       about      the

 23    system or any questions                            about        this case              in particular

 24            A.         No.

 25            Q.         Okay.     Anything that                           I    havent        asked    you that




                                       PAM       L.       ESQUIVEL                CSR        RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 77 of 100


       STATE    OF TEXAS            VS.    RUBEN    GUTIERREZ                                               176




  1    you    think      is    important          for me to know             about       whether       or

  2    not    youd       be a good          juror in this             case

  3            A.        I    dont        have    any questions.

  4            Q.        Okay.        Well        then     lets go back                 to that       answer

  5    where    we asked            you Do         you want       to be       a    juror          And you

  6    said    no     because         you    didnt want           a    persons life in your
  7    hands.       If       you sit as a juror and you                      take       an oath       that

  8    you will answer               everything       honestly and follow                   the       law

  9    can    you do that            or are you going             to have          such    bad

 10    feelings       about         maybe    sentencing          someone          to the death

 11    penalty that you could                     not be       fair

 12            A.        I    would       feel uncomfortable                 but    I    think    I    --    I



 13    mean     after hearing everything                        that    --    I    mean     I    can    do

 14    it.

 15            Q.        Okay.        It    is a    tough       decision.           Its     tough       for

 16    every    one      of us       in this room to do any of this.                             But    I


 17    need to know             can       you do    it         Can you       follow       the law and

 18    put    any personal            feelings       you may have             aside

 19            A.        Yes.

 20            Q.        Okay.

 21                                 MS.    FISCHER         I    dont     have       any further

 22    questions             Your    Honor.

 23                                 MR.    GALARZA         May    I    proceed           Your    Honor

 24                                 THE    COURT      You may.

 25




                                      PAM    L.    ESQUIVEL           CSR     RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 78 of 100


       STATE    OF TEXAS       VS.    RUBEN GUTIERREZ                                                 177




  1                                  VOIR DIRE          EXAMINATION

  2    BY MR.       GALARZA

  3            Q.      Its     Rosa      Delia        Hernandez           is    that    correct

  4            A.      Thats       correct.

  5            Q.      Good afternoon.                 My name is Santiago Galarza.

  6    I   believe     we were       introduced at the time of voir                         dire.

  7    My co-counsel          is Daniel             Reyes.     Hes        not    here today.          And

  8    we both represent             Mr.    Gutierrez          in this case.

  9                            Let me go back                to what       you    were    talking

 10    about    in the questionnaire                   and    what       Ms.    Fischer    --   and

 11    you   stated        in your questionnaire                   that    you would feel.

 12    scared       to know    that      the life of           a    person is in your

 13    hands.        Shes     gone    over          all the    --    or a lot of the

 14    procedure and as to what                      happens       and what       you have      to go

 15    ahead    and    do as a       juror.

 16                            At this point                do you feel          that    you could

 17    set that       aside and       just go ahead                and    serve    and    be fair

 18    and   impartial        in   this     case            Do you feel          that    because

 19    somebodys           life is in your hands                   that    you will have

 20    something       in the      back of your mind that would prohibit

 21    you from serving            in this           case

 22            A.      Like    I   said         I    mean     after hearing the

 23    evidence        I   dont      think          there    would be any problem.

 24            Q.      Okay.       So you would be                 fair and       impartial           You

 25    would listen to all the evidence                            and    you would decide




                                   PAM     L.       ESQUIVEL        CSR RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 79 of 100


        STATE    OF TEXAS         VS.    RUBEN    GUTIERREZ                                       178




   1    based on the testimony

   2            A.        Yes.

   3            Q.        Okay.     I    believe    at    the time of         --    well when
  4    you    went    ahead       and    filled out the questionnaire                     and when

  5    you were       asked       last Tuesday if you knew                any of      the

  6    parties        I    believe       you    stated    no     is    that   correct

  7             A.        Thats     correct.

  8             Q.        Okay.     And there was a long list of names                        that

  9    were     given      to you       or that    were    read to you.             You    dont
 10    know     any of those            names    either

 11             A.        No     sir.

 12             Q.        Okay.     Let me give you a                couple   of more       names

 13    and    just tell me if you know                   them    or not.        Claudia Leyva

 14    shes      a   dispatcher          with    the Brownsville          Police

 15    Department

 16             A.        No.

 17             Q.        Tina    Hauff        she lives here in Brownsville

 18             A.        No.

 19             Q.        Roberto       Gonzalez     hes        at    Cameron      County    jail

 20    here     in Brownsville

 21             A.        No.

 22             Q.        Tino    Ortiz

 23             A.      No.

 24             Q.      And Escolastica            Harrison also known               as

 25    Escolastica          Cuellar



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Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 80 of 100


       STATE       OF TEXAS      VS.       RUBEN    GUTIERREZ                                                179




  1            A.        No.

  2            Q.        Okay.        If    it    happens       that          once    a person      comes

  3    in to testify and once                     you see him when                   youre sitting
  4    down    as    a   juror        if    at    that       point       you realize         that    you

  5    know    that      person        would-it          affect          you       in any   way
  6            A.        No.

  7            Q.        Would their testimony                      --    would you

  8    automatically believe                     them    a    lot more             just because      you

  9    know    them

 10            A.        No.

 11            Q.        So you would listen to the testimony                                  listen to

 12    the rest of the testimony and                            give          it    the weight      it

 13    deserves

 14            A.        Yes.

 15            Q.        Here    in    Texas would you agree with me that
 16    once    a    person is arrested                   thats not evidence                   that       hes
 17    automatically guilty of the offense                                     is that      correct

 18            A.        That    is    correct.

 19            Q.        So hes            still innocent                of    whatever      hes     been

 20    arrested for

 21            A.        Thats        right.

 22            Q.        Okay.        The    procedure          usually is that               once       a

 23    person is arrested                   then at          that    point         the law

 24    enforcement         agency           which       is maybe          Brownsville         Police

 25    Department          San Benito             Police       Department             or any agency




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Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 81 of 100


       STATE    OF TEXAS         VS.    RUBEN       GUTIERREZ                                           180




  1    goes    ahead    and prepares              their       file.

  2                              They       get all the statements                  that    they need

  3    from police         officers           witnesses           whoever they need               to get

  4    a    statement      from.        They take          pictures         if   they need        any

  5    pictures.        And      they just go             ahead      and    prepare       the file.

  6                              Once       they feel         that    the file is complete

  7    then    at   that    point       they turn          it   over       to the    D.A.s

  8    Office.        At that         point       the   D.A.s Office prepares                    it    and

  9    they present         it    to what         we     call the grand            jury.     Do you

 10    know    what    the grand jury               is
 11            A.      Yes.

 12            Q.      Whats          a grand       jury
 13            A.      Its       the court          higher.

 14            Q.      Okay.          The    grand jury is the people that

 15    actually look at their advice                        and      the evidence          that       there

 16    is   in this     case          and    theyre the ones that actually                            say

 17    if   they can       proceed with the case                      Yes        you can     proceed

 18    with the       case        or    No        dont proceed              with    the    case.

 19                              If    they       say     Yes        go ahead       and    proceed

 20    with the       case        which means             they true         billed it        then       at

 21    that    point    the indictment                  is what      they    sign    so    they can

 22    proceed with the case                  and       its     filed in one         of    the

 23    district       courts.

 24                              Just       because       a grand      jury signs an

 25    indictment          does       that    mean that          the person is




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Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 82 of 100


        STATE    OF TEXAS             VS.    RUBEN       GUTIERREZ                                             181




   1    automatically                guilty
   2            A.         No.

   3            Q.         Why not

   4            A.         Because          they       havent    heard       the evidence.

   5            Q.         They       havent heard             the complete             evidence         or the

   6    accused       might not have                   been   there    at    the time that               they

   7    heard    some evidence                    is that      correct

   8            A.         Yes.

   9            Q.         Okay.           Would you agree            with       me that       at    that

 10     point    and       also       at the arrest or if a person is arrested

 11     if   he might still be                    in jail and         hes been indicted
 12     would you agree                   with    me that      hes     still innocent                as to

 13     that    point
 14             A.         Yes.

 15             Q.         Okay.           And thats          because       no    evidence          has been

 16     presented           is that          correct

 17             A.         Thats           correct.

 18             Q.         In    a    case       --    like   an example              this type of

 19     case     the State has to prove                        their case             beyond a

 20     reasonable          doubt.           What      beyond a reasonable                  doubt

 21    means     --    and       let me read it               to you.        Its        right here on

 22     this side.

 23                                   A     reasonable         double       is    a    doubt    based         on

 24     reason       and    common sense                after a careful               and   impartial

 25     consideration                of    all the evidence            in the          case.        It   is    the




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Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 83 of 100


       STATE    OF TEXAS          VS.    RUBEN    GUTIERREZ                                          182




  1    kind    of    doubt       that    would    make    a   reasonable         person

  2    hesitate          to act    in the most          important        of   his own

  3    affairs.            Okay
  4                               What    theyre advising               you    to do    is your

  5    use your reasoning                 use your common sense                  okay         Look    at

  6    the evidence              listen to the testimony                  and give       it    the

  7    weight       it    deserves.        If    two    people     come       in to    testify        if

  8    one    person says one thing                    the other        person    says the

  9    other    thing           okay     youre going to be using your common
 10    sense    to determine             who    youre going to go ahead and
 11    believe           okay
 12            A.         Nods head.
 13            Q.         Do you follow          me so    far
 14            A.         Yes.

 15            Q.         Do you agree          with    that

 16            A.         Yes.

 17            Q.         Okay.     Youre willing to use your common sense

 18    and believe          either       one party or the other                 party whatever
 19    your feelings             are that       is telling        the    truth

 20            A.         Yes.

 21            Q.         The    second    paragraph reads               Reasonable           doubt

 22    therefore         must be proof           of    such   a   convincing          character

 23    that    you would be willing to rely and                          act upon       it    without

 24    hesitation in the most important                           of your own affairs.

 25                               Have    you ever       bought     a    car



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Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 84 of 100


       STATE    OF TEXAS             VS.   RUBEN GUTIERREZ                                              183




  1            A.         Yes.

  2            Q.         When       you bought         a   car       was   it    a    brand-new car

  3    or was       it    a used       car
  4            A.         It was       a   brand-new car.

  5            Q.         Did you automatically just go and                              once   you    saw

  6    the   car         you    automatically just said                      This        is the one

  7    Im    going        to    take
  8            A.         No response.
  9            Q.         Or did you do some                checking         around

 10            A.         I    did    some checking             around

 11            Q.         So your common                sense    is    --   tells you not to go

 12    automatically.                 If   the     sticker       price      on the new          car says

 13    20000         you know          that      he might be able to lower that

 14    price        is    that       correct

 15            A.         Yes.

 16            Q.         So using your common                   sense       youre not going to
 17    agree    to pay          20000 at that point
 18            A.         Thats        correct.

 19            Q.         So    thats        the    same thing          that     were      telling you

 20    to do    in this type of case.                       Use       your common sense               like

 21    I   told you           again and go ahead and listen to the
 22    testimony and determine                      whos        telling      the truth          whos
 23    lying        and       use your reasoning to determine                           that okay

 24            A.         Nods head.

 25            Q.         Do you agree             to    follow       that



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Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 85 of 100


       STATE    OF TEXAS       VS.    RUBEN       GUTIERREZ                                      184




  1            A.      Yes.

  2            Q.      Okay.     In this type of case                the    State has to

  3    prove    all the elements             beyond a reasonable             doubt.        The

  4    elements      are right here on my left-hand                    side which           is

  5    your right-hand          side.

  6                            They    read number            one    the defendant

  7    number two        on or about          the 5th day of September                    1998

  8    number       three     in Cameron County              Texas     number       four

  9    intentionally           number    five        caused    the death       of an

 10    individual       by stabbing the individual                   with a screwdriver

 11    or object       unknown       to the grand          jury or by striking the

 12    individual       with an object            unknown to the grand              jury or
 13    by causing       the individual             to impact    with an object

 14    unknown to the grand             jury element number six and the
 15    said defendant          was    then    and    there    in the       course    of

 16    committing or attempting                   to commit the offense             of    robbery

 17    of   the individual.

 18                            In order for a person                to be charged          of

 19    capital murder           they need          to prove    murder plus          another

 20    felony       okay       In this case          they need       to prove       number

 21    five     that    the person       was       actually    murdered        okay        and

 22    number six that he intended                       to commit robbery.              They

 23    need to prove          all six elements            beyond a reasonable              doubt.

 24                            Have    you ever played the             lotto on

 25    Wednesdays       and    Sundays       --    and    Saturdays         Im   sorry.




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Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 86 of 100


       STATE    OF TEXAS      VS.     RUBEN    GUTIERREZ                                      185




  1            A.     Yes.

  2            Q.     Okay.      If    youre playing the lotto and you get
  3    five    out of    six numbers           do you automatically               get the

  4    jackpot        the whole       jackpot
  5            A.     No.

  6            Q.     Why not

  7            A.     Because       you only     got       five   numbers.

  8            Q.     Okay.      So    its     the    same thing        here.      Were
  9    asking       you to do the same thing                 okay    that    the State

 10    needs    to prove      every     single       element.       You    go to number

 11    one     did they prove          it    beyond a reasonable            doubt        Using

 12    your common sense              you    look at    the evidence            and you

 13    determine       yes      or    no.
 14                           Using     number       two     the same thing.            You   go.


 15    all the way to determine                whether they proved              every    single

 16    element beyond a reasonable                   doubt.

 17                           In element number              six let me tell you

 18    what    robbery is and Ill read you the definition.                                A
 19    person commits         an offense        of    robbery      if     in the course of

 20    committing       theft    and with       intent       to obtain      or maintain

 21    control      of the property            he intentionally             knowingly or

 22    recklessly causes bodily injury to another                            or

 23    intentionally or knowingly                threatens        or places        another      in

 24    fear    of imminent      bodily injury or death.

 25                           Okay.         Would you agree         with    me that      this




                                 PAM    L.    ESQUIVEL        CSR RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 87 of 100


       STATE    OF TEXAS             VS.       RUBEN GUTIERREZ                                                186




  1    is against             a    person
  2            A.            Yes.

  3            Q.            Okay.        So    if       somebody    goes.to       you and         they try

  4    to take          a    ring that          you       have     they tell       you       Give me the

  5    ring or          Ill        kill       you         thats     robbery.           Would you agree

  6    with    me
  7            A.            Yes.

  8            Q.            Okay.        If    somebody          just goes       to you or goes              to

  9    me and       tries to take                something          from   me      they kill me at

 10    the time that                theyre trying to take                    it    away       at    that

 11    point    --          or recklessly causes                  bodily injury.              They       dont
 12    kill    me           but    they cause             bodily injury to             me thats
 13    robbery.              Do you follow                me so    far
 14            A.            Yes.

 15            Q.            Burglary           A        person    commits    an offense            of

 16    burglary without                   the effective             consent       --    if    without         the

 17    effective             consent          of the owner           he enters          a   habitation         or

 18    a   building not then open                          to the public          with intent to

 19    commit       a       felony    or a       theft        or remain concealed                  with

 20    intent       to commit             a    felony       or a theft       in a building               or

 21    habitation                 or enters          a    building or habitation               and

 22    commits          or attempts             to commit a          felony or a theft.

 23                                  Would you agree                with   me that          this is done

 24    against          a    building or a habitation                      burglary
 25            A.            Yes.




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Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 88 of 100


       STATE    OF TEXAS        VS.    RUBEN    GUTIERREZ                                      187




  1            Q.       Okay.        Its     not done    against        a   person     directly

  2    against      a   person
  3            A.       Yes.

  4                             MS.    FISCHER       Your    Honor          may we approach

  5    at    this   point        I    just briefly want           to confer with         the

  6    Court.

  7                             THE    COURT      All right.

  8                             Off the record discussion at the bench

  9                             THE    COURT       Let me take          up a      legal matter

 10    with    the lawyers and              Ill   call you right back.               Will   you

 11    step down        for a few          minutes      Thank     you.

 12                             Prospective          juror left         the courtroom

 13                             THE    COURT       Go ahead.

 14                             MS.    FISCHER       Your    Honor          at this time the

 15    State will exercise                 its eighth    peremptory strike against

 16    Ms.    Hernandez.

 17                             MR.    GALARZA       No objection              Your Honor.

 18                             THE    COURT      All right.            Bring     her in.

 19                             THE    BAILIFF       Yes     Your       Honor.

 20                             THE    COURT       Okay     Ms.    Hernandez.         Thats

 21    all the questions              we have     for you today.             We   appreciate

 22    you coming back           this afternoon            and    youre excused to             go.

 23                             MS.    HERNANDEZ         Thank     you.

 24                             THE    COURT       Thank    you.

 25                             MR.    GALARZA       Thank       you.




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Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 89 of 100


        STATE    OF TEXAS             VS.       RUBEN       GUTIERREZ                                        188




  1                                   THE       COURT           Good    afternoon           Mr.    Perez.

  2                                   MR.       PEREZ           Hello.

  3                                   THE       COURT           How    are    you
  4                                   MR.       PEREZ           Im     fine.

  5                                   THE       COURT           Good.        Im    sorry for the

  6    delay         first of          all        but some questioning                     takes    longer

  7    with     some people                than    others.             So    were     ready to start at

  8    this time.            Could          I    ask you just to speak                     into the

  9    microphone.               If    you want             to adjust         it     you    can    go ahead

 10    and    adjust        it    to your height.                      And the lawyers have              a   few

 11    more     questions             to    ask        okay
 12                                   MR.       PEREZ           Okay.

 13                                   THE       COURT           Go ahead.

 14                                               ERNESTO         PEREZ

 15           having        been       called          as   a    prospective          juror       and   upon

 16           his     oath was examined and testified                                  as    follows

 17                                         VOIR DIRE            EXAMINATION

 18    BY MS.        FISCHER

 19             Q.         Good       afternoon              sir.       How    are you       doing
 20             A.         Im     doing          fine.

 21             Q.         My name          is    Karen Fischer.                This is John

 22    Blaylock.            Hes        the one          that      spoke       with   you all last

 23    week.         We    work       for the Cameron                  County      District Attorneys

 24    Office.            That    means          we represent               the people       of    Cameron

 25    County        here    today.




                                           PAM    L.    ESQUIVEL             CSR RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 90 of 100


        STATE    OF TEXAS             VS.    RUBEN GUTIERREZ                                                     189




  1                                   Now        I    know      that       --    Ive        read your

  2    questionnaire                  and    I       appreciate            you    filling that            out for

  3    me.      And    I       know    that          you    told us that               you have      some

  4    problems        with your eye.

  5             A.         Yeah.

  6             Q.         Is that          going          to   cause      you        any problems         if you

  7    were     selected          as a juror in this                        case

  8             A.         No.

  9             Q.         Okay.        Tell          me what         kind       of    --    obviously       I


 10    mean      you       did a fine                job in filling out the

 11    questionnaire.                  Did you have               any problems               reading       any of

 12    the questionnaire

 13             A.         No.

 14             Q.         What       kind       of       problems         does       your left eye give

 15    you
 16             A.         I    cant        see from            it.


 17             Q.         Okay.        We       have       some like boards                 up over here

 18    that     have       some       special             issue questions               on    it   that    kind of

 19    discuss        the law.              Can you see               these

 20             A.         Uh-huh.

 21             Q.         Okay.        Do you have               any problem reading with

 22    those

 23             A.         Just       the bottom ones                  a    little bit.

 24             Q.         Okay.        Is       that       because         the       prints too small
 25             A.         Uh-huh.           Yes.




                                        PAM          L.    ESQUIVEL             CSR RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 91 of 100


        STATE    OF TEXAS        VS.    RUBEN       GUTIERREZ                                          190




  1             Q.     Okay.       Now     during          the course         of    this trial

  2     there    probably will be diagrams and perhaps                               reading         that

  3    you may have          to do.       Will       you be      able to do          that

  4             A.     Ill       be able to          see    it    but    I    dont       know    about

  5    that     small print.

  6             Q.     Okay.       If    we got it up            closer        would you be

  7    able to see          it
  8             A.     Okay.       Yes.

  9             Q.     If   you become          a    juror will you remind us that

 10    you need      to     see things         up    close        Can you do             that

 11             A.     Yes.

 12             Q.     Okay.       A long as you can               read       it thats fine
 13    but    just remind         us that       you may need to see something up

 14    close.

 15             A.     Okay.

 16             Q.     Just      remind me if          I    do that      also.

 17                              In your questionnaire                  we    asked      you a       lot

 18    of    questions      about       your feelings            about       the death         penalty

 19    and about       your feelings            about       a   lot of different               laws.

 20             A.     Yes.

 21             Q.     So we do know            a    lot about      you.           And    I   know   that

 22    from reading your questionnaire                          youre generally in favor
 23    of    capital      punishment           you think         its     a good          idea

 24             A.     Yes.

 25             Q.     Tell    me why you            think      itsa         good    idea.




                                   PAM    L.    ESQUIVEL          CSR RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 92 of 100


        STATE       OF TEXAS          VS.    RUBEN        GUTIERREZ                                            191




  1             A.      Without             it    there      wouldnt be              --       there   would        be

  2    more     crime        I    guess.

  3             Q.      Okay.           Now       this trial and at                  any trial in the

  4    State of        Texas           we have        a    two-part          system.          Now     the

  5    first part           of    your job if              youre     a       juror is you have                to

  6    make     a    decision          about      whether      or not the defendant                      is

  7    guilty.

  8                                   And if you do find the defendant                                guilty

  9    then     youre asked                 to consider        the death            penalty.           And

 10    youre asked               to do that           by answering a series of

 11    questions            and       thats those questions up there on that

 12    board         okay
 13                                   And its my job or our job to prove                                 the

 14    case     to you beyond a                  reasonable         doubt.          Thats         what      the

 15    standard        of the law             is      beyond    a    reasonable               doubt.        When

 16    we asked        you       --    and    thats why         I    want       to talk          to you.

 17    One of        the specific             questions        is you          --   we asked          you
 18     Should the State be required to prove                                       their case         beyond

 19    all doubt        in a capital murder                    prosecution
 20                                   Tell    me why you think                that        I    should have

 21    to prove        my case          beyond all doubt.

 22             A.      I    dont           understand        that.

 23             Q.      Okay.           Let me kind of              --       let me explain            it     to

 24    you    like this.               The    law says that              I   have     to prove         the

 25    case     to you beyond a                  reasonable         doubt.          Thats         what      the




                                        PAM      L.   ESQUIVEL           CSR        RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 93 of 100


        STATE    OF TEXAS          VS.    RUBEN       GUTIERREZ                                            192




  1     standard       is.     And that means               I    have    to    --    you have         to use

  2    your reason and your common sense                                and    after a careful

  3    and    impartial        consideration you have                         to make       a    decision.

  4                                Okay.           Beyond   a    reasonable          doubt       does    not

  5    mean beyond           all doubt             or beyond      a    shadow       of    a doubt.

  6             A.        Okay.      I    understand            now.

  7             Q.        Okay.      Do you see what                  Im   saying           Its       kind

  8    of like       if    you were           going    to go and you were                  going      to buy

  9    a    home.      You    know        youd probably                think       about    it    for a

 10    long time.            Have    you ever bought                  your own       home

 11             A.     No.

 12             Q.        Okay.      I    havent either                 but        you    know       Ive
 13    been thinking           about          it    for a very long time.                  And you

 14    would think           about       it    and you would make                  some    careful       and

 15    impartial          decisions            right        And you may have                some doubts

 16    along     the   way         but you would            research          it    and    listen to

 17    what     people       had    to say.           And then if you thought                    it     was

 18    right youd buy the house.                            Wouldnt           you    agree      with     me

 19    on    that

 20             A.     Yes.

 21             Q.     Okay.         Thats           kind of      like what          beyond      a

 22    reasonable         doubt      is.

 23             A.     Oh      okay.

 24             Q.     You     may not be 100 percent                      sure but youve
 25    researched it and youve                        listened         to the evidence               you




                                     PAM       L.    ESQUIVEL          CSR RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 94 of 100


       STATE    OF TEXAS         VS.     RUBEN       GUTIERREZ                                        193




  1    know     you could         make     a    decision          okay       So    thats what

  2    the law is.           I    just need          to make       sure you can          follow      the

  3    law.

  4            A.      Okay.        Yes.

  5            Q.      Okay.        When       we asked       you    if    you wanted          to be a

  6    juror in this             case     you checked             no.       But then you             said

  7    My     decision      tends        to be more          for as       long as    the facts

  8    are put      on the        table.            Then    you will evaluate

  9    everything.          Do you        think       you can       be    fair and       impartial

 10            A.      Yes.

 11            Q.      Thats        what       you have       to be.        If you       can    do

 12    that     then       youll make           a    good    juror in the case.

 13                              When     you       said    no     is there       any particular

 14    reason why you             dont     think       youd       be a good        juror
 15            A.      I   have     no    answer right now.

 16            Q.      Okay.        Do you think             you would make          a good

 17    juror
 18            A.      No response.
 19            Q.      Could      you     listen to the evidence                   and be       fair

 20            A.      Yes.

 21            Q.      Okay.        Now        in the       event    that    you    do find the

 22    defendant       guilty of capital murder                      --    and    the capital

 23    murder charge             in this case          is    if   while     in the course of

 24    committing robbery                 Ms.       Harrison was killed              we proved

 25    that    to you beyond a reasonable                         doubt     that    is    a capital




                                    PAM    L.       ESQUIVEL        CSR     RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 95 of 100



       STATE    OF TEXAS             VS.       RUBEN         GUTIERREZ                                         194




  1    offense           if    you kill someone while                        in the committing

  2    robbery           okay
  3                                  Are you okay                with    that       law      Can you

  4    follow       that       law            Do you think             its     a   good     idea

  5            A.            Its     a       good    idea.

  6            Q.            Okay.           If you          find him guilty              then   youre
  7    asked    to consider                   these          special    questions.           And based         on

  8    your answers             to these             questions           that      tells the Court

  9    whether or not to impose the death                                  penalty.

 10                                  The       first question             youre asked             is whether

 11    there    is       a    probability that the defendant                              would commit

 12    criminal          acts of violence                      that    would constitute            a

 13    continuing             threat          to society.

 14                                  Basically               this question           is asking         you     Do
 15    you think             the defendant                   is going    to hurt          again        Is he    a




 --20
 16    future       danger                   Okay.

 17                                  Can you             tell me how you would be                  able to

 18    decide       if       someone were                a    future    danger      to     society

 19            A.            Well        we    cant          decide     because       some of us

       they get          sent to prison.                       As soon    as       they get      out     they

 21    do it    again.

 22            Q.            Well        I    noticed that you were                   a    jailer at one

 23    point    in       time at             the Willacy County                jail.        You probably

 24    saw   some        of    that didnt you
 25            A.            Uh-huh.           Yes.




                                             PAM    L.       ESQUIVEL     CSR RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 96 of 100


       STATE       OF TEXAS      VS.    RUBEN          GUTIERREZ                                                  195




  1            Q.       Okay.         Do you       think       you    can    make          it    --    do

  2    you    --    I   mean     if    you heard          evidence          maybe          about       the

  3    defendants             background or things that you knew about                                       him

  4    from his         past     do you think             you can       make       a       determination

  5    that    a    defendant         might hurt          again

  6            A.        I    dont     know       how    to answer          that.

  7            Q.       Okay.         The    law is going             to ask       you that

                             This question             is going       to be there                in that          law
  8    question.

  9    that    the Judge         gives you.              And    youre going                 to    have       to

 10    listen to what            you hear about                the    case        about          the

 11    circumstances             about       the killing              as well          as       some things

 12    about       the defendant.             And then youre                 going          to    be asked

 13    whether you think               that       he may hurt          again okay

 14            A.        Okay.

 15            Q.        Okay.        Youre going to be asked                          that question

 16    and    youre going to have to answer                            it    either             yes         or

 17     no.         Can you do         that

 18            A.        Nods     head.

 19            Q.        Okay.        Now        lets talk about              this.              You have          to

 20    decide       whether the defendant                  will be a continuing                         threat

 21    to    society.          What    does       society mean               to    you
 22            A.        Society       is    --    I    dont know how to say                          it.     The

 23    United States as a whole.

 24            Q.        Okay.        What       about    when       you were          a    jailer at             the

 25    Willacy County jail                  --    was    that    at    the state                jail




                                      PAM    L.    ESQUIVEL           CSR RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 97 of 100



       STATE    OF TEXAS          VS.    RUBEN    GUTIERREZ                                           196




  --2
  1    there

               A.      In Raymondville.

  3            Q.      --    up on       77      Okay.           Would    you agree      that your

  4    society       was    the    folks there       in the jail with                  you   that

  5    that    was    your    society
  6            A.      Yes.

  7            Q.      Okay.        And including                the inmates       and you as a

  8    jailer
  9            A.      Nods head.
 10            Q.      Okay.        And wouldnt you agree                       with me that

 11    sometimes       people       in jail can          be a       continuing         threat    to

 12    society         Were       those    inmates       a       threat    to    you
 13            A.      Yes.

 14            Q.      Okay.        But    now     the real important                  question       is

 15    because       of your experience             as       a    jailer do you have             any

 16    prejudice       or bias          against    defendants             in general      or can

 17    you be       fair

 18            A.      I    dont        know.

 19            Q.      The    law says you have                   to set those         personal

 20    feelings       aside that you cant                        come    in here thinking         that

 21    a   defendants         already guilty or you cant                          come   in here

 22    thinking        Well         Im     going    to give him the death

 23    penalty         that       you have       to be fair and             impartial as         you

 24    sit here       right now because             you          dont     know    anything      about

 25    the case.           Have    you heard       anything             about    this case      in




                                    PAM    L.    ESQUIVEL           CSR RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 98 of 100



       STATE      OF TEXAS           VS.    RUBEN      GUTIERREZ                                         197




  1    particular

  2            A.         No.

  3            Q.         Did you know               Ms.   Harrison

  4            A.         Shake           head.

  5            Q.         Okay.           Did you grow           up here    in Brownsville

  6            A.         No.

  7            Q.         Okay.           Where      did you grow         up
  8            A.         San Benito.

  9            Q.         Okay.           Ms.   Harrison was a school                 teacher       here

 10    in Brownsville.                    So if you        didnt     know      anything       about      her

 11    or you       dont           know    anything        about    the    case       I    need    to know

 12    if   you     can       be    fair and         impartial      right now as you               sit

 13    here    in this courtroom.




 --18
 14            A.         I   would listen to the facts.

 15            Q.         Okay.           And then make your decision

 16            A.         Nods        head.

 17            Q.         Okay.           So you      dont       think    now just because

                                     THE    COURT          You    need    to verbalize            your

 19    answer.

 20            Q.         BY        MS.    FISCHER          Im     sorry.       Mr.       Perez     shes

 21    going      to take           down    everything           you say.       So    I    need    to make

 22    sure that          you       say it      so that      she can       hear      it.

 23            A.         Okay.

 24            Q.         Let me ask you               the question         again.          Because      of

 25    your past experiences                         can   you put any personal               feelings




                                          PAM   L.    ESQUIVEL       CSR       RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 99 of 100


        STATE    OF TEXAS          VS.    RUBEN       GUTIERREZ                                           198




  1    you may have              aside and be             fair and       impartial         in this

  2     case
  3             A.         I    would    be fair and          impartial.

  4             Q.         Okay.        The    next part          of    this question              then       is

  5    what     we call          the law of parties.                    And    its     a   real long

  6    question           but have        you heard of             the law of          parties           Do

  7    you understand the concept                          that when          two people       are

  8    robbing        a   bank        the person that              goes       in to get the money

  9     is just as             guilty as the get-away                   driver

 10             A.        Yes.

 11             Q.        Are you okay              with    that       law
 12             A.         Nods       head.

 13             Q.        Okay.

 14                                THE    COURT            You need          to answer        please.

 15             A.        Yes.

 16                                THE    COURT            Thank       you.

 17             Q.         BY     MS.    FISCHER            She    cant        take    down    a   nod    of

 18    the head.               Shes     got to hear you.

 19                                This question             says that          you can       be

 20    subjected           to the death             penalty if you actually                   cause      the

 21    death     of       the deceased.              Lets     say you go          into the

 22    Circle        K    you     rob it and you             shoot       the store clerk.

 23    Thats         capital       murder and you             can       --    the death       penalty

 24    could     be       an appropriate             punishment.

 25                                Even       if    you    dont actually              cause    the death




                                        PAM    L.    ESQUIVEL           CSR     RPR
Case 1:09-cv-00022 Document 23-85 Filed on 07/30/12 in TXSD Page 100 of 100


        STATE    OF TEXAS            VS.          RUBEN       GUTIERREZ                                            199




   1    of the deceased                      if       you intended        for them         to       die     then

   2    you    can    also         receive             the death        penalty.          And thats           kind

   3    of in the situation                           where    two people        go   into the

   4    Circle       K    and      one           of them       goes     to get the         money the
   5    other    goes         to get the beer.                      Lets       say the store clerk

   6    wont     give         up the money.                   And so the other              one       --    lets

   7    say    Im     the one            over          here by the beer.              I    say        Well
   8    just kill him and                        lets go.
   9                                 Obviously                 the killer        could      get       the death

 10     penalty.          He actually caused                        the death.            What      about     the

 11     one    that      didnt           do the killing but                    said       Go        ahead    and

 12     kill    him           How do you feel about                           that

 13             A.        I   would say he would get a lighter sentence.

 14             Q.        Okay.              Rather         than    death

 15             A.        Nods head.
 16             Q.        Why do you say that

 17             A.        I    dont know                    but he      didnt     actually            pull the

 18     trigger.

 19             Q.        Okay.              But the law says you can                      consider          him

 20     for the death              penalty if he intended                        for the person               to be

 21     killed.          If    I   say           --    lets say         Mr.    Blaylock         and    I    go into

 22     the Circle            K and          I    tell him         --   when    the clerk           wont      give

 23     him the money                I       say        John       kill       her     did       I    intend    for

 24     the store         clerk          to       die
 25             A.        Yes.           I       understand now.




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